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EXHIBIT C
ASBESTOS PI TRUST DlSTRIBUTI()N PROCEDURES

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ALL PROVISIONS IN THESE ASBESTOS PI TRUST DISTRIBUTION PROCEDURES,
INCLUD]NG THE VALUES ESTABLISHED FOR ASBESTOS PI CLA]MS lN EACH
DISEASE LEVEL, WERE AGREED TO FOR SE'I"I'LEMENT PURPOSES ONLY. TO THE
EXTENT THE PLAN IS NOT CONFIRMED, OR IS CONFIRMED AND SUBSEQUEN'I`LY
REVERSED, THE PARTIES RBSERVE ALL RIGHTS WITH RESPECT TO CLAIM
VALUES AND OTHER MATTERS DEALT WITH IN THESE ASBESTOS PI TRUST
DISTRIBUTION PROCEDURES.

LESLIE CONTROLS, [NC.

FORM OF ASBESTOS PERSONAL INJURY
TRUST DISTRIBUTION PROCEDURES

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LESLIE CON'I‘ROLS, INC.
ASBESTOS PERSONAL INJURY TRUST DISTRIBUTION PROCEDURES

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LESLIE CONTROLS, INC.
ASBESTOS PERSONAL IN,|QRY TRUST DISTRIBUTION PROCEDURES

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Capitalized terms not otherwise defined herein shall have the meaning ascribed to such
terms in the Plan of Reorganization of Lesiie Controls, Inc. under Chapter 11 of the Bankruptcy
Code dated , 2010 (the “Plan”), or the Asbestos PI Trust Agreernent executed
pursuant to the Plan and referred to below, gas applicable.

The Leslie Controls, Inc. Asbestos Persona.l Injury Trust Distribution Procedures

(“Asbestos PI Trust Distribution Procedures”) contained herein provide the means for resolving

all Asbestos PI Claims under the Plan for which the Asbestos Protected Parties have or are

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alleged to have legal responsibility for or on account of Leslie Controls, lnc. (“Leslie Controls’i)
as provided in and required by the Plan and the Leslie Controls, Inc. Asbestos Personal lnjury
Trust Agreement (the “Asbestos PI Trust Agreement”).

The Plan and the Asbestos PI Trust Agreement establish the leslie Controls, Inc.
Asbestos Personal lnjury Trust (the “Asbestos PI Trust”). The Asbestos PI Trustee shall
implement and administer these Asbestos PI Trust Distribution Procedures in accordance with
the Asbestos P1 Trust Agreement. Por purposes of the Asbestos PI Trust Distribution
Procedures, Asbestos PI Clairns shall not include Asbestos PI Trust Expenses

SECTION I
Introduction

1.1 Pumose. These Asbestos PI Trust Distribution Procedures have been adopted
pursuant to the Asbestos PI Trust Agreement. They are intended and designed to provide fair,
equitable, and substantially similar treatment for all Asbestos PI Claims that may presently exist

or may arise in the future in substantially the same manner.

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1.2 Interpretation. These Asbestos PI Trust Distribution Procedures are not intended
to, nor shall they be deemed to, create additional substantive rights for any claimant The rights
and benefits provided herein to holders of Asbestos Pl Claims shall vest in su:':h holders as of the
Et`fective Date.

SECTION lI

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2.1 Asbestos PI Trust Goal. The goal of the Asbestos PI Trust is to treat all holders of 4
Asbestos PI Claims similarly and equitably and in accordance with the requirements of Section
524(g) of the Bankruptcy Code. These Asbestos PI Trust Distribution Procedures are intended to
further that goal by setting forth procedures for processing, resolving and paying Leslie Controls’
several share of the unpaid portion of the liquidated value of Asbestos PI Claims from the
Asbestos PI Trust on an impartial, tirst~in~t`irst-out (“EEQ”) basis, with the objective of paying
all holders of such claims over time as equal a share as possible of the value of their claims based
on historical values for substantially similar claims in the tort system.l’2 To this end, these
Asbestos PI Trust Distribution Procedures establish matrices relating to seven asbestos~related
diseases (“Disease Levels”), six of which have medical and exposure requirements that create a
presumption that the claimant is entitled to compensation hereunder (“Medical/Exposure
M”), and specific liquidated values attributable to claims of such type (“Scheduled
E_ue_s_”), five of which have expected average values (“Average Values”), and all of which have

upper limits (caps) on their liquidated values (“Maximum Values”). The Disease Levels,

 

1 As used in these Asbestos PI Trust Distributiou Procedures, the phrase “in the tort system” shall not include claims
asserted against a trust established for the benefit of asbestos personal injury claimants pursuant to Section 524(g) of
the Bankruptcy Code or any other applicable law.

2 Asbestos PI Claims have been classified, for purposes of these Asbestos PI Trust Distribution Procedures, as either

Leslie Powerhouse or Below-Deck Naval Station Claims or Leslie Consn'uction and Maintenance Claims (as such
terms are defined in Section 5.2 below, because the liquidated value of such claims varies on such basis.

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Medical/Exposure Criteria, Scheduled Values, Average Values and Ma_Ximum Values, which are
set forth in Sections 5.2 and 5.3 below, have all been established with the intention of achieving
a fair allocation of the Asbestos PI Trust funds among claimants suffering from differeiit diseases
in light of the best available information considering the settlement history of Leslie Controls
and the rights claimants would have in the tort system absent Leslie Controls’ bankruptcy
proceeding

2.2 Claims Liguidation Procedures,

(a) A claimant may assert an Asbestos PI Claii:n against the Asbestos PI Trust
as herein contemplated All Asbestos PI Claims shall be processed, liquidated, resolved and/or
paid pursuant to these Asbestos PI Trust Distribution Procedures.

(b) All`claimants holding an Asbestos PI Qlaim must_t`ile a claim with the
Asbestos PI Trust using<the proof of claim form provided by the Asbestos PI Trust. Asbestos PI
Claims shall be processed based on their place in the F[FO Processing Queue to be established
pursuant to Section 5.1(a) below, The Asbestos PI Trust shall take all reasonable steps to resolve
Asbestos PI Claims as efficiently and expeditiously as possible at each stage of claims
processing, including mediation and arbitration, which steps may include, in the Asbestos PI
Trust’s sole discretion, conducting settlement discussions with claimants’ representatives with
respect to more than one claim at a time, provided that the claimants’ respective positions in the
FIFO Processing Queue are maintained, and each claim is individually evaluated pursuant to the
valuation factors set forth in Section 5 .2(b)(2) below, The Asbestos PI Trust shall also make
every effort to resolve each year at least that number of Asbestos PI Claims required to exhaust

the Maximum Annual Payment, as such term is defined below.

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The Asbestos Pl Trust shall, except as otherwise provided below, liquidate all Asbestos
PI Claims except Foreign Claims (as defined in Section 5.2 (b)(l) below) that meet the
Medical/Exposure Criteria of Disease Levels I- IV, VI and VII under the Expedited Review i
Process described in Section 5.2 (a) below. Asbestos PI Claims involving Disease Levels HI, IV,
VI and VII that do not meet the Medical/Exposure Criteria for the relevant Disease Level may
undergo the Asbestos PI Trust’s lndividual Review Process described in Section 5.2(b) below.
ln such a case, notwithstanding that the claim does not meet the Medical/Exposure Criteria for
the relevant Disease Level, the Asbestos PI Trust may offer the claimant an amount up to the
Scheduled Value of that Disease Level if the Asbestos PI Trust is satisfied that the claimant has
presented a claim that would be cognizable and valid in the tort system.

ln lieu of liquidating Asbestos PI Claims involving Disease Levels III, IV, VI and VlI
under the Expedited Review Process, a claimant holding an Asbestos PI Claim involng Disease
Level I]I, IV, VI or VII may, in the alternative, seek to establish a liquidated value for the claim
that is greater than its Scheduled Value by electing the Asbestos PI Trust’s lndividual Review
Process pursuant to Section 5 .2(b) below, However, the liquidated value of an Asbestos PI
Claim that undergoes the lndividual Review Process for valuation purposes may be determined
to be less than the Scheduled Value for the applicable Disease Level, and, in any event, shall not
exceed the Maximum Value for the relevant Disease Level set forth in Section 5.2(b)(3) below,
unless the claim qualifies as an Extraordinary Claim as defined in Section 5.3(a) below, in which
case its liquidated value shall not exceed the maximum extraordinary value specified in Section
5.3(a) for such claims. Claims involving Disease Level V (Lung Cancer 2) and all Foreign

Claims may be liquidated only pursuant to the Asbestos Pl Trust’s lndividual Review Process,

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The Scheduled Values and Maximum Values for claims involving Disease Levels III, IV,
V and VII and the Average Value and Maximum Value for claims involving Disease Level V set
forth in Section 5 .2(b)(3) which claims are eligible for lndividual Review of their liquidated
values (or, in the case of Level V, required to be so liquidated), have been established The
Trustee shall use his or her reasonable best efforts to insure that the Asbestos PI Trust processes
claims such that over time the combination of settlements at the Scheduled Values and those
resulting from the lndividual Review Process should generally result in the Average Values set
forth in Section 5.2(b)(3) for such Disease Levels.

All unresolved disputes regarding a claimant’s medical condition, exposure history
and/or the liquidated value of the claim shall be subject to mediation and then, at the election of
the claimant, to binding or non-binding arbitration as set forth in Section 5.9 below under the
alternative dispute resolution procedures (the “ADR Procedures”) to be adopted by the Asbestos
PI Trust as provided in Section 5 .9 below. Asbestos PI Claims that are the subject of a dispute
with the Asbestos PI Trust that are not resolved by arbitration may enter the tort system as
provided in Sections 5 . 10 and 7.6 below. However, if and when a claimant obtains a judgment
in the tort system, the judgment shall be payable (subject to the Payment Percentage, Maximum
Annual Payment, and Claims Payment Ratio provisions set forth below) as provided in Section
7.7 below.

2.3 Application of the Pa§@ent Percentag§. After the liquidated value of an Asbestos
PI Claim is determined pursuant to the procedures set forth herein for Expedited Review,
lndividual Review, mediation, arbitration, or litigation in the tort system, the claimant shall
ultimately receive a pro-rata portion of the applicable liquidated value based on the Payment

Percentage described in Section 4.2 below.

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The initial Payment Percentage (the “Initial Payment Percentage”) has been set at forty
percent (40%) and shall apply to all Asbestos PI Claims accepted as valid for payment by the
Asbestos PI Trust, unless and until adjusted by the Asbestos PI Trust with the consent of the
Asbestos PI Trust Advisory Committee and the Future Claimants’ Representative pursuant to
Section 4.2 below, and except as provided in Section 4.3 below with respect to supplemental
payments in the event the Initial Payment Percentage is changed. The term “Asbestos PI Trust
Voting Claims” means (i) Qualified Asbestos PI Claims; (ii) claims filed against Leslie Controls
in the tort system or actually submitted to Leslie Controls; and (iii) all asbestos claims filed
against another defendant in the tort system prior to the date the Plan was filed with the

Bankruptcy Court (luly 12, 2010 (the “Plan Filing Date”)), provided, however, that (1) the

holder of a claim described in subsection (i), (ii) or (iii) above, or his or her authorized agent,

actually voted to accept or reject the Plan pursuant to the voting procedures approved by the

Bankruptcy Court, unless such holder certifies to the satisfaction of the Asbestos PI Trustee that

he or she was prevented from voting'in this proceeding as a result of circumstances resulting in a

state of emergency affecting, as the case may be, the holder’s residence, principal place of
business or legal representative’s place of business at which the holder or his or her legal
representative receives notice and/or maintains material records relating to the claim; and
provided further that (2) the claim was subsequently filed with the Asbestos PI Trust pursuant to
Section 6.1 below by the Initial Claims Filing Date defined in Section 5.1(a) below,

The lnitial Payment Percentage has been established based upon (i) the Scheduled Values
set forth in Section 5.2(b)(3) below with respect to existing and projected future claims involving

Disease Levels land ll, and (ii) the assumption that generally the Average Values set forth in

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Section 5 .2(b)(3) below will be achieved with respect to existing and projected future claims
involving Disease Levels 111 - VH.

The Payment Percentage may be adjusted upwards, but not in excess of 100%, or
downwards from time to time by the Asbestos PI Trust with the consent of the Asbestos PI Trust
Advisory Committee and the Future Claimants’ Representative to reflect then-current estimates
of the Asbestos PI Trust’s assets and liabilities, as well as the then-estimated value of then-
pending and projected future claims. Any adjustment to the Payment Percentage (including the
Initial Payment Percentage) shall be made only pursuant to Section 4.2 below. lf at any time the
Payment Percentage is increased, claimants whose claims were liquidated and paid prior to the
increase under these Asbestos PI Trust Distribution Procedures at a lower Payment Percentage
shall receive additional payments only as provided in Section 4.3 below. Because there is
uncertainty in the prediction of both the number and severity of future Asbestos PI Claims and
the amount of the Asbestos PI Trust’s assets, no guarantee or representation can be made
regarding the Payment Percentage that`will be applied to an Asbestos‘PI Claim’s liquidated
value.

2.4 Determination of the Maximum Annual Payment, The Asbestos PI Trust shall
estimate or model the amount of cash flow anticipated to be necessary over its entire life to
ensure that funds shall be available to treat all present and future holders of Asbestos PI Claims
as similarly as possible. In each year, the Asbestos PI Trust shall be empowered to pay out all of
the income earned during such year (net of taxes payable with respect thereto), together with a
portion of its principal calculated so that the application of the Asbestos PI Trust’s funds over the
life of the trust shall correspond with the needs created by the estimated initial backlog of claims

and the estimated anticipated future flow of claims (the “Maximum Annual Payment”), taking

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into account the Payment Percentage provisions set forth in Section 2.3 above and Sections 4.2
and 4.3 below, The Maximum Annual Payment shall be determined annually by the Asbestos PI
Trustee with the consent of the Asbestos PI Trust Advisory Committee and the Future
Claimants’ Representative. The Asbestos PI Trust’s distributions to all claimants for a year shall
not exceed the Maximum Annual Payment so determined for that year,

7 2.5 Claims Pament Ratio. Based upon Leslie Controls’ claims settlement history
and the analysis of present and future claims, a ratio (the “Claims Payment Ratio”) as of the
Effective Date, of Category A claims (which consist of Asbestos PI-Claims involving
` malignancies and Severe Asbestosis (Disease Levels 111 - VII) that were unliquidated as of the
Commencement Date), to Category B claims (which are Asbestos Pl Claims involving non-
maligth Asbestosis or Pleural Disease (Disease Levels 1 and II) that were unliquidated as of
the Commencement Date) has been deteiniined to be 80% Category A to 20% Category B.

In each year, after the determination of the Maximum Annual Payment described in
Section 2.4 above and subject thereto, 80% of that amount will be available to pay liquidated
Category A claims and 20% will be available to pay liquidated Category B claims, each in the
order such claims come up for payment in the FIPO Payment Queue described in Section 5.l(c)
below following the liquidation thereof In the event there are insufficient funds in any year to
pay the liquidated claims in a Category, the available funds allocated to that Category shall be
paid to the claimants in that Category based on their place in the FlFO Payment Queue.
Liquidated claims remaining unpaid in such year on account of an insufficiency of funds
allocated to the Category in which such unpaid claims fall shall be carried over to the next

succeeding year and shall be placed at the head of such succeeding year’s FIFO Payment Queue.

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ln the event that there are insufficient liquidated claims in Category A to exhaust the
Maximum Annual Payment amount allocated to Category A by the Claims Payment Ratio, then
the excess amount for such Category A shall be rolled forward to the next succeeding year and
shall remain available to pay liquidated claims in Category A. With respect to Category B, in the
event there are insufficient liquidated claims in Category B to exhaust the Maximum Annual
Payment amount allocated to Category B by the Claims Payment Ratimo, then the excess amount
for such.'Category B shall be rolled forward and shall remain available to pay liquidated claims in
Category B, subject to the following: (a) at the end of the second year and thereafter at the end of
each year the Asbestos P1 Trustee shall make a determination of whether, in respect of the two
years or year (as applicable) then ended, funds made available in Category B to pay Category B
claims exceeded amounts payable in respect of liquidated Category B claims in accordance with
these Asbestos PI Trust Distribution Procedures (any such excess amount being a “Category B
Excess` Amount”); and (b) any such Category B Excess Amount shall be (i) used to pay
liquidated Category A claims entitled to payment in respect of which there are insufficient funds
to pay such liquidated Category A claims or (ii) in the absence of such unpaid liquidated
Category A claims at such time, such Category B Excess Amount shall be added back to and
become part of the principal portion of the Asbestos PI Trust res and, accordingly, shall again be
available in ensuing years (including the immediately next succeeding year) for application to
liquidated Category A and Category B claims in proportion to the Claims Payment Ratio
applicable in such ensuing years,

In addition, in the event that the available funds in either Category A or Category B
exceed the amounts payable to liquidated claims in such Category for two consecutive years,

then the Asbestos PI Trustee shall re-evaluate the Claims Payment Ratio in light of claims

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liquidation and payment experience of the Asbestos PI Trust and propose (i) maintenance of the

then-existing Claims Payment Ratio, or (ii) establishment of a different Claims Payment Ratio

that more accurately reflects past and likely future claims liquidation and payment needs. Any

change in the Claims Payment Ratio shall take effect only with the consent of the Asbestos P1

Trust Advisory Committee and the Future Claimants’ Representative as contemplated below,
The Claims Payment Ratio established as of the Effective Date shall apply to all Asbestos

PI Trust Claims and shall not be changed or modified sooner than the second anniversary of the

date on which the Asbestos PI Trust first accepts proofs of claim for processing. Thereafter, the

Claims Payment Ratio shall be continued or recalibrated (on a prospective basis only and subject

to the approval and consent requirements below) in order to approximately reflect the actual

number of Asbestos PI Claims in each Category that have been liquidated and paid and are

anticipated in subsequent years to be liquidated and paid pursuant to these Asbestos PI Trust

" Distribution Procedures, v j "._ q
ln considering whether to make any changes or modifications to the Claims Payment

Ratio, the Asbestos PI Trustee shall consider the reasons for which the Claims Payment Ratio

was adopted, the settlement history that gave rise thereto (including the fact that, historically,

99% of leslie Controls’ settlement and judgment payment amounts were paid on account of

claims that would qualify as Category A claims hereunder), and whether the reasons asserted to

necessitate the change or modification were or were not foreseeable when the Claims Payment

Ratio then in effect was established In such regard, the Asbestos P1 Trustee should keep in

mind the interplay between the Payment Percentage and the Claims Payment Ratio as they affect

the net cash actually paid to claimants.

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Anything in these Asbestos PI Trust Distribution Procedures to the contrary
notwithstanding no change or modification to the Claims Payment Ratio (i) to reduce the
percentage allocated to Category A claims shall be made except with the unanimous consent of
the Asbestos PI Trust Advisory Committee members and the consent of the Future Claimants’
Representative, or (ii) to increase the percentage allocated to Category A claims shall be made
except with the consent of the Asbestos Pl Trust Advisory Committee and the consent of the
Future Claimants’ Representative. In the case of any proposed change or modification to the
Claims Payment Ratio, the consent process set forth in Sections 6.7(b) and 7.7(b) of the Asbestos
Pl Trust Agreement shall apply. The Asbestos PI Trustee, with the consent of the Asbestos PI
Trust Advisory Committee and the Future Claimants’ Representative, may offer the option of a
reduced Payment Percentage to holders of claims in either Category A or Category B in return
for more prompt payment (the “Reduced Payment Option”). w

44 2.6 indirect Asbestos PI Claim As sec forth in section 5.5 beie'w; loaned Asbestos
PI Claims, if any, shall be subject to all the same limitations and other provisions (including,
without liniitation, all provisions relating to categorization, evaluation and payinent) of these
Asbestos PI Trust Distribution Procedures as all other Asbestos PI Claims.

SECTION III
Asbestos PI Trust Distribution Procedures Administration

3.1 Asbestos PI Trust Advisory Committee and Future Claimants’ Representative.

Pursuant to the Plan and the Asbestos PI Trust Agreement, the Asbestos PI Trust and these
Asbestos PI Trust Distribution Procedures shall be administered by the Asbestos PI Trustee in
consultation with the Asbestos PI Trust Advisory Committee, which committee represents the
interests of holders of present Asbestos PI Claims, and the Future Claimants’ Representative,

who represents the interests of holders of Asbestos PI Claims that will be asserted in the future.

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The Asbestos PI Trustee shall obtain the consent of the Asbestos PI Trust Advisory Committee
and the Future Claimants’ Representative with respect to any amendment, change or
modification to these Asbestos PI Trust Distribution Procedures pursuant to Section 8.1 below,
and regarding such other matters requiring such consent or approval hereunder or under Section
2.2(e) of the Asbestos Pl Trust Agreement The Asbestos PI Trustee shall also consult with the
Asbestos PI Trust Advisory Committee and the Future Claimants’ Representative on such
matters requiring such consultation hereunder`or under Section 2.2(d) of the Asbestos PI Trust
Agreement The initial Asbestos PI Trustee, the initial members of the Asbestos PI Trust
Advisory Committee and the initial Future Claimants’ Representative are identified in the
Asbestos `PI Trust Agreement

3.2 Consent and Consultation Procedures: In those circumstances in which
consultation or consent is required, the Plsbestos PI Trustee shall provide written‘notlce to the
Asbestos PI Trust Advisory Committee and the Future Claimants’ Representative of the specific
amendment change or modification or other action that is proposed. The Asbestos PI Trustee
shall not implement any amendment, change or modification nor take such proposed action
unless and until the parties have engaged in the Consultation Process described in Sections 6.7(a)
and 7.7(a) or the Consent Process described in Sections 6.7(b) and 7.7(b), respectively, of the

Asbestos PI Trust Agreement

SECTION IV
Pa}ggent Percentage; Periodic Estimates

4.1 Uncertainty of Leslie Controls’ Personal Injug Asbestos Liabilities. As noted

herein, there is inherent uncertainty regarding Leslie Controls’ total asbestos-related tort
liabilities, as well as the total value of the assets available to the Asbestos PI Trust to pay

Asbestos PI Claims. Consequently, there is inherent uncertainty regarding the amounts that

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holders of Asbestos PI Claims will receive. To seek to ensure substantially equivalent treatment
of all present and future Asbestos PI Claims, the Asbestos PI Trustee must determine from time
to time the pro rata portion or pbrcentage of the liquidated value of claims that holders of present
and future Asbestos PI Claims will likely receive pursuant to the Plan (including the provisions
of the Asbestos PI Trust Agreement and these Asbestos PI Trust Distribution Procedures); i.e.,
the “Payment Percentage” referred to in Section 2.3 above and Section 4.2 below.

4.2 Computation of Payment Percentage, As provided in Section 2.3 above, the
Initial Payment Percentage shall be 40% and shall be applied to all Asbestos PI Claims approved
for payment by the Asbestos PI Trust, unless the Asbestos PI Trustee, with the consent of the
Asbestos PI Trust Advisory Committee and the Future Claimants’ Representative, determine that
the Initial Payment Percentage should be changed to assure that the Asbestos PI Trust shall be in
a financial position to pay present and future holders of Asbestos PI Claims in substantially the
same manner.

ln making any such change to the Initial Payment Percentage, the Asbestos PI Trustee,
the Asbestos PI Trust Advisory Committee and the Future Claimants’ Representative shall take
into account the fact that the holders of Asbestos PI Trust Claims who voted on the Plan relied
on the findings of experts that the Initial Payment Percentage represented a reasonably reliable
estimate of the Asbestos PI Trust’s total assets and liabilities over the trust’s life based on the
best information available at the time, and shall therefore give due consideration to the
expectations of such claim holders that the lnitial Paymenf Percentage would be applied to their
Asbestos PI Trust Claims,

The Payment Percentage shall be subject to change from time to time pursuant to the

terms of these Asbestos PI Trust Distribution Procedures and the Asbestos PI Trust Agreement if

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the Asbestos PI Trustee, with the consent of the Asbestos PI Trust Advisory Committee and the
Future Claimants’ Representative, determine that an adjustment is required. No less frequently
than once every three (3) years, comme§cing January 2 of the year next succeeding the year in
which the Effective Date occurs, the Asbestos PI Trustee shall reconsider the then-applicable
Payment Percentage to assure that it is based on accurate, current information and may, after
such reconsideration, change the Payment Percentage with the consent of the Asbestos PI Trust
Advisory Committee and the Future Claimants’ Representative, if deemed necessary to assure
that the Asbestos PI Trust remains in a financial position to pay present and future holders of
Asbestos PI Claims in substantially the same manner. The Asbestos PI Trustee may also
reconsider the then-applicable Payment Percentage at shorter intervals if the Asbestos PI Trustee
deems such reconsideration to be appropriate or if requested to do so by the Asbestos PI Trust
Advisory Committee or the Future Claimants’ Representative.

The Asbestos PI Trustee shall base the determination of the Payment Percentage on
current estimates of the number, types, and values of present and future Asbestos PI Claims, the
value of the assets then available to the Asbestos PI Trust for their payment, all anticipated
administrative and legal expenses, and any other material matters that are reasonably likely to
affect the sufficiency of funds to pay a comparable percentage of liquidated value to all present
and future holders of Asbestos PI Claims. When making these determinations, the Asbestos PI
Trustee shall exercise common sense and flexiny evaluate all relevant factors. The Payment
Percentage applicable to Category A or Category B claims may not be reduced to alleviate
delays in payments of claims in the other Category; both Category A and Category B claims

shall receive the same Payment Percentage, but the payment may be deferred as needed pursuant

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to Section 7.3 below, and a Reduced Payment Option may be instituted as described in Section
2.5 above.

4.3 Applicability of the Payment Perc§ntage. Except as otherwise provided in
Section 5. l(c) below for Asbestos PI Claims involving deceased or incompetent claimants for
which approval of the Asbestos PI Trust’s offer by a court or through a probate process is
required, no holder of any Asbestos PI Claim shall receive a payment that exceeds the liquidated
value of the claim times the Payment Percentage`m effect at the time of payment.

lf- a redetermination of the Payment Percentage has been proposed in writing by the
Asbestos PI Trustee to the Asbestos PI Trust Advisory Committee and the Future Claimants’
Representative, but has not yet been approved and implemented, a claimant shall receive the
lower of the current Payment Percentage or the proposed Payment Percentage. However, if the
proposed-Payment Percentage was the lower of the two but is not so approved and implemented,
the claimant shall thereafter receive an amount equal to the difference between the amounts
determined with reference to the lower proposed percentage and the higher current percentage
If the proposed Payment Percentage was the higher of the two and is subsequently approved and
implemented, the claimant shall thereafter receive an amount equal to the difference between the
amounts determined with reference to the lower current percentage and the higher adopted
percentage

There is uncertainty surrounding the amount of the Asbestos PI Trust’s future assets.
There is also uncertainty surrounding the totality of the Asbestos PI Claims to be paid over time,
as well as the extent to which changes in existing federal and state law could affect the Asbestos
PI Trust’s liabilities under these Asbestos PI Trust Distribution Procedures. lf the value of the

Asbestos PI Trust’s future assets increases significantly and/or if the value or volume of

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Asbestos PI Trust claims actually filed with the Asbestos PI T rust is significantly lower than
originally estimated, the Asbestos PI Trust shall use the increase in assets and/or claims’ savings,
as the case may be, first to maintain the Payment Percentage then in effect.

If the Asbestos PI Trustee, with the consent of the Asbestos PI Trust Advisory
Committee and the Future Claimants’ Representative, increases the Payment Percentage, the
Asbestos PI Trustee shall also make supplemental payments to all claimants who previously
liquidated their claims and received payments from the Asbestos PI Trust based on a lower
Payment Percentage. The amount of any such supplemental payment shall be the liquidated
value of the claim in question times the newly adjusted Payment Percentage, less all amounts
previously paid to the claimant with respect to the claim (but excluding any such amounts
attributable to any sequencing adjustment paid pursuant to Section 7.5 below).

The Asbestos PI Trustee’s obligation to make a supplemental payment to a claimant shall
be suspended in the event the payment in question would be less than $100, and~the amount of
the suspended payment shall be added to the amount of any prior supplemental z
payment/payments that was/were also suspended because it/they would have been less than
$100. However, the Asbestos PI Trustee’s obligation shall resume and the Asbestos PI Trustee
shall pay any such aggregate supplemental payments due the claimant at such time that the total

exceeds $100.

SECTION V
Resolution Of Asbestos PI Claims

 

5.1 Ordering, Processing and Payment of Claims,
(a) Orden`ng of Claims.
(1) Estalzlishment of FIFQ PQ§§§§ing Queues. The Asbestos PI Trust

shall order all claims that are sufficiently complete to be reviewed for processing purposes on a

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FIFO basis except as otherwise provided herein (the “FIFO Processing Queue”). For all claims
filed on or before the date six (6) months after the date that the Asbestos PI Trust first makes
available the proof of claim forms and other claims materials required to file a claim with the
Asbestos PI Trust (the “lnitial Claims Filin Date”), a claimant’s position in the FIFO Processing
Queue shall be determined as of the earliest of {i_) the date prior to the Commencement Date that
the specific claim was filed against Leslie Controls in the tort system; (ii) the date prior to the
Commencement Date that the asbestos claim was filed against another defendant in the tort
system if at the time the claim was subject to a tolling agreement with Leslie Controls; (_i_@ the
date subsequent to the Commencement Date but prior to the date that the Asbestos PI Trust first
makes available the proof of claim forms and other claims materials required to file a claim with
the Asbestos PI Trust that the asbestos claim was filed against another defendant in the tort
system; (_iy) the date subsequent to the Commencement Date but prior to the Effective Date that a
proof of claim was filed by the claimant against Leslie Controls in Leslie Controls’ Chapter 11
case; or (y) the date a ballot was submitted on behalf of the claimant for purposes of voting to
accept or reject the Plan pursuant to voting procedures approved by the Bankruptcy Court.

For all claims filed subsequent to the Initial Claims Filing Date, a claimant’s position in
the FIFO Processing Queue shall be determined by the date the claim is filed with the Asbestos
PI Trust, provided such claim is sufficiently complete, as defined in the Asbestos PI Trust’s
claim filing instructions or, if not so sufficiently complete, the later date on which it becomes so
sufficiently complete. If any claims are filed on the same date, a claimant’s position in the FlPO
Processing Queue vis-a-vis such other same-day claims shall be determined by the date of the
diagnosis of the asbestos-related disease with the earlier diagnosis having priority over the later

diagnosis. If any claims are filed and diagnosed on the same date, a claimant’s position in the

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FlFO Processing Queue vis~a-vis such other same-day claims shall be determined by the
claimant’s date of birth, with older claimants given priority over younger claimants.

(2) affect of statutes of Limitatidns add Repdse. Au unitluidated
Asbestos PI Claims must meet either: (i) in the case of claims first filed in the tort system against
Leslie Controls prior to the Commencement Date, the applicable federal, state or foreign statute
of limitations and repose that was in effect at the time of the filing of the claim in the tort system;
or (ii) in the case of claims not filed against Leslie Controls in the tort system prior to the
Commencement Date, the applicable federal, state or foreign statute of limitations that was in.
effect at the time of the filing with the Asbestos PI-Trust. However, the running of the applicable
statute of limitations shall be tolled as of the earliest of: (A) the actual filing of a claim against
Leslie Controls prior to the Commencement Date in the tort system; (B) the date specified by
agreement or otherwise between Leslie and/or the Asbestos PI Trust, on the one hand, 1a:iid'the
applicable claimant, on the other hand, (or, if none, the date of the agreement) in the case of the
tolling prior to the Commencement Date by van agreement or otherwise, provided such tolling
was still in effect on the Commencement Date; or (C) the Commencement Date.

If an Asbestos PI Claim meets any of the tolling provisions described in the preceding
paragraph and the claim was not barred by the applicable federal, state or foreign statute of
limitations at the time of the relevant tolling event, it shall be treated as timely filed if it is
actually filed with the Asbestos PI Trust within three (3) years after the Initial Claims Filing
Date, In addition, any Asbestos PI Claim that is first diagnosed after the Commencement Date,
irrespective of the application of any relevant federal, state or foreign statute of limitations or
repose, may be filed with the Asbestos PI Trust within three (3) years after the date of diagnosis

or within three (3) years after the Initial Claims Filing Date, whichever is later. However, the

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processing of any Asbestos PI Claim by the Asbestos PI Trust may be deferred at the election of
theclaimant pursuant to Section 6.3 below.

(b) Notice of lmpending Processing of Claims, The Asbestos PI Trust sha.zl
review its claims files on a regular basis and shall notify any claimant whose claim is likely to
come up in the PIFO Processing Queue in the near future and, in any event.

(c) Payment of Claims, Asbestos PI Claims that have been liquidated by the

'Expedited Review Process as provided in Section 5 .2(a) below, by the lndividual Review
Process as'provided in Section 5.2(b) below, by mediation or arbitration as provided in Section
5.9 below, or by litigation in the tort system as provided ing Section 5. 10 below, shall be paid in
FIFO order based on the date their liquidation became final (the “FIFO Payment Queue”), all
such payments being subject to the applicable Payment Percentage at the time payment is made,
the Maximum Annual Payment, the Claims Payment Ratio and any sequencing adjustment
provided for in Section 7.5 below, except as otherwise provided herein.

Where a claimant is deceased or incompetent, and the settlement and payment of his or
her claim must be approved by a court of competent jurisdiction or through a probate process
prior to acceptance of the claim by the claimant’s representative, an offer of settlement or
liquidation of the claim made by the Asbestos PI Trust shall remain open so long as proceedings
before that court or in that probate process remain pending, provided that the Asbestos Pl Trust
has been furnished with evidence that the settlement offer has been submitted to such court or in
that probate process for approval. lf the offer is ultimately approved by the court or through the
probate process and accepted by the claimant’s representative, the Asbestos PI Trust shall pay
the claim in the amount so offered, multiplied by the Payment Percentage in effect at the time the

offer was first made.

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lf any claims are liquidated on the same date, the claimant’s position in the FIFO
Payment Queue shall be determined by the date of the diagnosis of the claimant’s asbestos-
related disease with the earlier diagnosis having priority over the later diagnosis. If any claims
are liquidated on the same date and the respective claimants’ asbestos~related diseases were
diagnosed on the same date, the position of those claimants’ in the FIFO Payment Queue shall be
determined by the Asbestos PI Trust based on the dates of the claimants’ births, with older
claimants given priority over younger claimants; v

5.2 Resolution of Unliguidated Asbestos PI Claims, Within six (6) months after the
establishment of the Asbestos PI Trust, the Asbestos PI Trustee, with the consent of the Asbestos
PI Trust Advisory Committee and the Future Claimants’ Representative, shall adopt procedures
for reviewing and liquidating all unliquidated Asbestos PI Claims, which shall include deadlines
for processing such claims. Such procedures shall also require that claimants seeking resc;lution
of unliquidated Asbestos PI Claims must first file a proof of claim form, together with the m
required supporting documentation, in accordance with the provisions of Sections 6.l and 6.2
below, lt is anticipated that the Asbestos PI Trust shall provide an initial response to a claimant
within six (6) months of receiving the proof of claim form,

The proof of claim form shall require a claimant to assert his or her claim for the highest
Disease Level for which the claim qualifies at the time of filing. Without regard to the Disease
Level alleged on the proof of claim form, a claim shall be deemed to be a claim for the highest
Disease Level for which the claim qualifies at the time of filing, and all lower Disease Levels for
which the claim may also qualify, whether at the time of filing or in the future, shall be treated as
subsumed by and merged into the higher Disease Level for both processing and payment

purposes. The proof of claim form also shall require a claimant to elect the Expedited Review

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Process, as described in Section 5.2(a) below, or the lndividual Review Process, as described in
Section 5.2(h) below, if such election is available under these Asbestos PI Trust Distribution
Procedures for the Disease Level alleged (or deemed applicable) by the claimant

A claimant shall specify on his or her proof of claim (and the claim form shall require
that a claimant so designate) whether the claim is asserted to be a “Leslie Powerhouse and
Below~Deck Naval Station Claim” or a “Leslie Construction and Maintenance Claim.” The
Asbestos PI Trustee shall have the right (in addition to all other rights) to challenge any such
assertion or designation As used in these Asbestos PI Trust Distribution Procedures, the
following terms shall have the following meanings: l

(i) “Leslie Powerhouse and Below-Deck Naval Station Claims”3 means 1

Asbestos PI Claims alleging exposure to asbestos during installation, removal or maintenance of
Leslie valves and other control equipment or exposure to asbestos in the immediate vicinity of a
worker who is performing such hands-on installation, removal or maintenance of Leslie valves
and other control equipment while regularly employed in a Leslie Powerhouse, in a United States
shipyard while working on naval vessels, or while serving at an assigned Below-Deck Naval
Station, respectively. Most such claims allege that Leslie manufactured, sold, and/or distributed
valves and other control equipment that contained asbestos-containing materials used at
powerhouse facilities and on Naval vessels, To the extent that any Asbestos PI Claim filed or
otherwise asserted against the Asbestos PI Trust does not specifically allege asbestos exposure

arising from such circumstances, such claim shall be presumed to be a Leslie Construction and

 

3 Leslie Powerhouse and Below-Deck Naval Station Claims include claims arising at United States and Canadian
Naval Shipyards, private shipyards in the United States and Canada, shipyards operated outside of the United States
by the United States Navy, United States Coast Guard vessels, and commercial vessels for which there is
independent corroborating documentary evidence of Leslie asbestos~containing products.

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Maintenance Claim unless designed as a Leslie Powerhouse and Below-Deck Naval Station
Claim in the applicable proof of claim form (subject to challenge by the Trustee).

(ii) “Leslie Construction and Maintenance Claims” means Asbestos PI Claims
alleging asbestos exposure arising from the installation, maintenance, or removal of valves
and/or other control equipment manufactured by Leslie installed other than described in (i) of
this Section. To the extent that any Asbestos PI Claim filed or otherwise asserted against the
Asbestos Pl Trust does not specify the circumstances of alleged asbestos exposure, such claim
shall be presumed to be a Leslie Construction and Maintenance Claim.

Upon filing of a valid proof of claim form with the required supporting documentation
and designation, a claim shall be placed in the FIF() Processing Queue in accordance with the
ordering criteria described in Section 5.1(a) above.

(a) Expedited Review Process.

(l) In Generz_il. The Asbestos Pl Trust’s Expedited Review Process is
designed primarily to provide an expeditious, efficient and inexpensive method for liquidating all
Asbestos PI Claims (except those involving Disease Level V and except Foreign Claims (as
defined below), which shall only be liquidated pursuant to the Asbestos PI Trust’s lndividual
Review Process) where the claim can easily be verified by the Asbestos PI Trust as meeting the
Medical/Exposure Criteria for the relevant Disease level Expedited Review thus provides
claimants with a substantially less burdensome process for pursuing Asbestos PI Claims than
does the lndividual Review Process described in Section 5 .Z(b) below, Expedited Review is also
intended to provide qualifying claimants a fixed and certain claim value.

Thus, claims that undergo Expedited Review and meet the Medical/Exposure Criteria for

the relevant Disease Level shall be paid on the basis of the Scheduled Value for such Disease

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Level set forth in Section 5 .2(a)(3) below, However, all claims liquidated by Expedited Review
shall be subject to the applicable Payment Percentage at the time payment is made, the
Maximum Annual Payment, and the Claims Payment Ratio limitations set forth herein.
Subject to the provisions of Section 5.7, a claimant’s eligibility to receive the Scheduled
Value for his or her Asbestos PI Claim pursuant to the Expedited Review Process shall be
determined solely by reference to the Medical/Exposure Criteria set forth below for each of the
Disease Levels eligible for Expedited Review.

(2) Claims Processing Under Expedited Review. All claimants
seeking liquidation of an Asbestos PI Claim pursuant to Expedited Review shall file the Asbestos
PI Trust’s proof of claim form. As a proof of claim form is reached in the FIFO Processing
Queue, the Asbestos PI Trust shall determine whether the claim described therein meets the
Medical/Exposure Criteria for one of the six Disease Levels eligible for Expedited Review, and
shall advise the claimant of its determination. If the Asbestos l’l Trust determines that a claim
meets the Medical/Exposure Criteria for a Disease Level, the Asbestos PI Trust shall tender to
the claimant an offer of payment equal to payment of the Scheduled Value subject to the
Payment Percentage in effect at the time of payment for the relevant Disease Level, together with
a form of release approved by the Asbestos PI Trust, lf the claimant accepts such offer,
including the Scheduled Value, and returns the release properly executed, the claim shall be
placed in the FlFO Payment Queue, following which the Asbestos PI T rust shall make payment
on the claim subject to the limitations, if any, of the Maximum Annual Payment and Claims
Payment Ratio.

(3) Disease Level§: §ch§duled Values and Medical/Exposure Criteria.

The seven Disease Levels covered by these Asbestos PI Trust Distribution Procedures, together

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with the Medical/Exposure Criteria for each, and the Scheduled Values for the six Disease

Levels eligible for Expedited Review, are set forth below. These Disease Levels, Scheduled

Values, and Medical/Exposure Criteria shall apply to all Asbestos PI Trust Claims filed with the

Asbestos PI Trust on or before the Initial Claims Filing Date for which the claimant elects the

Expedited Review Process. Thereafter, for purposes of administering the Expedited Review

»~Process and, with the consent of the Asbestos PI Trust Advisory Committee and the Future

Claimants’ Representative, the Asbestos Pl Trustee may: add to, change or eliminate Disease

Levels, Scheduled Values, and/or Medical/Exposure Criteria; develop subcategories of Disease

Levels, Scheduled Values and/or Medica]/Exposure Criteria; or determine that a novel or

exceptional Asbestos PI Claim is compensable even though it does not meet the

Medical/Exposure Criteria for any of the then current Disease"Levels. Because claimants who_~"

fall within Disease Level V seeking to recover from the Asbestos PI Trust may not undergo "

Expedited Review and must undergo lndividual Review, no Scheduled Value is provided

 

 

 

 

 

 

 

Disease Level Scheduled Value MedicaI/Exposure Criteria
Powerhouse Construction
and Below- and
Deck Naval Maintenance
Station Claims
Claims
Mesothelioma (Level $lO0,000 $25,000 (_l_) Diagnosis4 of mesothelioma; and (2)
VH) Leslie Controls Exposure as defined in
Section 5.6(b)(3) below
Lung Cancer 1 (Level $25,000 $7,500 (i) Diagnosis of a primary lung cancer
Vl) plus evidence of an underlying Bilateral
Asbestos Related Nonmalignant
Disease,5 (2.) six months leslie Controls

 

 

 

4 The requirements for a diagnosis of an asbestos-related disease are set forth in Section 5 .6 below.

5 Evidence of “Bilateral Asbestos~Related Nonmalignant Disease" for purposes of meeting the criteria for
establishing Disease Levels I, II, IV, and VI, means either (i) a chest X-ray read by a qualified B reader of 1/0 or

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Disease Level

Scheduled Value

MedicallExposure Criteria

 

Powerhouse
and Below-

Deck Naval

Station

Construction
and
Maintenance
Claims

Claims

 

Exposure prior to Decernber 31, 1986,
@ Signiticant Occupational Exposure‘S
to asbestos, and (ii) supporting medical
documentation establishing asbestos
exposure as a contributing factor in
causing the lung cancer in question.

 

 

Lung Cancer 2 (Level
V)

None None (1) Diagnosis of a primary lung cancer;'
(g) Leslie`Controls Exposure prior to
December'3 1, 1986, and Q) supporting
medical documentation establishing
asbestos exposure as a substantial
conu'ib.uting factor in causing the lung
cancer in question. Lung Cancer 2
(Level V) claims are claims that do not
meet the:;_iiore stringent medical and/or
exposure requirements of Lung Cancer l

(Level VI)-clairns. All claims in Disease

 

 

 

 

 

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higher on the lLO scale or (L)(;) a chest x-ray read by a qualified B reader or other Qualified Physician, (y) a CT
scan read by a Qualitied Physician, in each case showing either bilateral interstitial librosis, bilateral pleural plaques,
bilateral pleural thickening, or bilateral pleural calcilication, or (;) pathology. Evidence submitted to demonstrate (i)
or (ii) above must be in the form of a written report stating the results (e.g., an lLO report, a written radiology report
or a pathology report). Solely for asbestos claims filed against Leslie Controls or another defendant in the tort
system prior to the Commencement Date, if an ILO reading is not available, either (i) a chest X-ray or a CT scan
read by a Qualilied Physician, in each case showing bilateral interstitial fibrosis, bilateral pleural plaques, bilateral
pleural thickening, or bilateral pleural calciiication consistent with or compatible with a diagnosis of asbestos-
related disease, shall be evidence of a Bilateral Asbestos~Related Nonmalignant Disease for purposes of meeting the
medical requirements of Disease Levels L II, IV and VI, or @) pathology. Pathological proof of asbestosis may be
based on the pathological grading system for asbestosis described in the Special Issue of the Archives of Pathology
and Laboratory Medicine, “Asbestos-associated Diseases,” Vol. 106, No. ll, App. 3 (October 8, 1982). For all
purposes of these Asbestos Pl Trust Distribution Procedures, a “Qualified Physician” is a physician who is board
certified (or in the case of Canadian Claims or Foreign Claims, a physician who is certified or qualified under
comparable medical standards or criteria of the jurisdiction in question) in one or more relevant specialized fields of
medicine such as pulmonology, radiology, internal medicine or occupational medicine; provided, however, that,
subject to the provisions of Section 5 .7, the requirement for board certification in this provision shall not apply to
otherwise qualified physicians whose x-rays and/or CT scan readings are submitted for deceased holders of Asbestos
Pl Claims.

6 “Significant 0ccupational Exposure” is defined in Section 5.6(b)(2) below,

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Disease Level

Scheduled Value

Medical/Exposure Criteria

 

Powerhouse
and Below-
Deck Naval
Station
Claims

Construction
and
Maintenance
Claims

 

 

 

 

 

Level V shall be individually evaluated
The estimated likely average of the
individual evaluation awards for this
category is $18,000 for Leslie
Powerhouse and Below-Deck Naval
Station Claims and $5,000 for Leslie
Construction and Maintenance Claims,
with such awards capped at $22,000 for
Leslie Powerhouse and Below-Declc
Naval Station Claims and 310,000 for
Leslie Construction and Maintenance
Claims, unless the claim qualifies for
Extraordinary Claim treatment
(discussed in Section 5.3 below). Level
V claims that show no evidence of either
an underlying Bilateral Asbestos-Related
Nonmalignant~Disease or Signiticant
Occupational Exposure may be
individually evaluated, although it is not
expected that such claims shall be
treated as having any significant value,
especially if the claimant is also a
Smoker. In any event, no presumption
of validity shall be available for claims
in this category.

 

 

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7 There is no distinction between Non-Smokers and Smokers for either Lung Cancer 1 (l_evel VI) or Lung Cancer 2
(Level V), although a claimant who meets the more stringent requirements of Lung Cancer 1 (Level Vl') (evidence
of an underlying Bilateral Asbestos~Related Nonmalignant Disease plus Significant Occupational Exposure), and
who is also a Non-Smoker, may wish to have his or her claim individually evaluated by the Asbestos PI Trust. In
such a case, absent circumstances that would otherwise reduce the value of the claim, it is anticipated that the
liquidated value of the claim might well exceed the Scheduled Value for Lung Cancer 1 (Level VI), shown above.
“Non~Smoker” means a claimant who either (a) never smoked or (b) has not smoked during any ponion of the
twelve (12) years immediately prior to the diagnosis of the lung cancer.

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Disease Level Scheduled Value Medical/Exposure Criteria
Powerhouse Construction
and Below- and
Deck Naval Maintenance
Station Claims
Claims
Other Cancer (Level $15,000 $5,000 (_l) Diagnosis of a primary colorectal,
IV) laryngeal, esophageal, pharyngeal, or
stomach cancer, plus evidence of an
underlying Bilateral Asbestos~Related
Nonmalignant Disease, (2_) six months
Leslie Controls Exposure prior to
December 31, 1986, (§) Signiticant
Occupational Exposure to asbestos, and
(¢_l) supporting medical documentation
establishing asbestos exposure as a
contributing factor in causing the other
_ cancer in question.
Severe Asbestosis $17,500 $6,000 (i) Diagnosis of asbestosis with ILO8 of

(Level [[l)

 

 

 

2/1 or greater, or asbestosis determined
by pathological evidence of asbestosis,
plus (_a_) TLC less than 65%, or (l_)) FVC
less than 65% and FEVl/FVC ratio
greater than 65%, (2) six months Leslie
Controls Exposure prior to December
31, 1986, (_3_) Significant Occupational
Exposure to asbestos, and (i) supporting
medical documentation establishing
asbestos exposure as a contributing
factor in causing the pulmonary
impairment in question.

 

 

8 lf the diagnostic images being interpreted in such regard are digital images, then a written report by a Qualiiied
Physician confirming that the images reviewed are with reasonable medical certainly equivalent to those that would
qualify for the required ILO grade shall be provided as well.

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Disease Level Scheduled Value Medical/Exposure Criteria
Powerhouse Coustruction
and lielow- and
Deck Naval Maintenance
Station Claims
Claims
Asbestosis/Pleural $4,500 $1,250 (i) Diagnosis of Bilateral Asbestos-
Disease (Level lI) Related Nonmalignant Disease plus (a)
TLC less than 80%, or @) FVC less than
80% and FEVl/FVC ratio greater than`
or equal to 65%, and @) six months
Leslie Controls Exposure prior to
December 31, 1986, (§) Signiflcant
Occupational Exposure to asbestos, and
(¢_i_) supporting medical documentation
- w establishing asbestos exposure as a
` contributing factor in causing the
' pulmonary impairment in question.
Asbestosis/Pleural $l,SOO $500 (i) Diagnosis of a Bilateral Asbestos-
Disease (Level D Related Nonmalignant Disease, and (2)
six months Leslie Controls Exposure
prior to December 31, 1986, and (§_) five
years cumulative occupational exposure
to asbestos.
(b) lndividual Review Prgc§s§.

(1) In General. Subject to the provisions set forth below, a claimant

may elect to have his or her Asbestos PI Claim reviewed for purposes of determining whether the

claim would be compensable in the tort system even though it does not meet the

Medical/Exposure Criteria for any of the Disease Levels lII, IV, VI or Vl] set forth in Section

5.2(a)(3) above or because it is a Disease Level V claim. In addition or alternatively, a claith

holding an Asbestos PI Claim meeting the Medical/Exposure Criteria for Disease Levels III, IV,

VI or VII may elect to have a claim undergo the lndividual Review Process for purposes of

determining whether the liquidated value of the claim exceeds the Scheduled Value for the

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relevant Disease Level. However, until such time as the Asbestos PI Trust has made an offer on
a claim pursuant to lndividual Review, the claimant may change his or her lndividual Review
election and have the claim liquidated; pursuant to the Asbestos PI Trust’s Expedited Review
Process. ln the event of such a change in the processing election, the claimant shall nevertheless
retain his or her place in the FIFO Processing Queue.

The liquidated value of all Foreign Claims asserted or payable under these Asbestos PI
Trust Distribution Procedures shall be established only under the Asbestos FI Trust’s lndividual
Review Process. Asbestos PI Claims of individuals exposed in Canada who were resident in
Canada when such claims were filed (“Canadian Claims”) shall not be considered Foreign
Claims hereunder and shall be eligible for liquidation under the Expedited Review Process.
Accordingly, a “Foreign Claim" is an Asbestos PI Claim with respect to which the claimant’s
exposure to an asbestos~containing product, or to conduct that exposed the claith to an
asbestos-containing product, for Which Leslie Controls has legal responsibility occurred outside
of the United States and its Territories and Possessions and outside of the Provinces and
Territories of Canada.

In reviewing Foreign Claims, the Asbestos PI Trust shall take into account all relevant
procedural and substantive legal rules to which the claims would be subject in the Claimant’s
Jurisdiction as defined in Section 5.2(b)(2) below, The Asbestos PI Trust shall determine the
liquidated value of a Foreign Claim based on historical settlements and verdicts in the Claimant’s
lurisdiction as well as the other valuation factors set forth in Section 5.2(b)(2) below.

For purposes of the lndividual Review Process for Foreign Claims, the Asbestos PI
Trustee, with the consent of the Asbestos PI Trust Advisory Committee and the Future

Claimants’ Representative, may develop separate Medical/Exposure Criteria and standards, as

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well as separate requirements for physician and other professional qualitieations, which shall be
applicable to Foreign Claims channeled to the Asbestos PI Trust; provided, however, that such
criteria, standards or requirements shall not eff§ctuate substantive changes to the claims
eligibility requirements under these Asbestos PI Trust Distribution Procedures, but rather shall
be made only for the purpose of adapting those requirements to the particular licensing
provisions and/or medical customs or practices of the foreign country in question.

“ At such time as the Asbestos PI Trust has sufficient historical settlement, verdict and
other valuation data for claims from a particular foreign jurisdiction, the Asbestos PI Trustee,
with the consent of the Asbestos PITrust Advisory Committee and the Future Claimants’
Representative, may also establish a separate valuation matrix for any such Foreign Claims based
on that data.

(A) Review of Medical/Exp_osure Criteria. The Asbestos PI
Trust’s lndividual Review Process provides a claimant with an opportunity for individual
consideration and evaluation of an Asbestos PI Claim that fails to meet the
Medical/Exposure Criteria for Disease Levels HI, IV, VI or VII. In such a case, the
Asbestos PI Trust shall either deny the claim, or, if the Asbestos PI Trust is satisfied that
the claimant has presented a claim that would be cognizable and valid in the tort system,
the Asbestos PI Trust may offer the claith a liquidated value amount up to the
Scheduled Value for that Disease Level.

(B) Review of Liquidated Value. Claimants holding claims in
Disease Levels l[I - VII shall also be eligible to seek lndividual Review of the liquidated
value of their Asbestos PI Claims, as well as of their medical/exposure evidence. The

lndividual Review Process is intended to result in payments equal to the full liquidated

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value for each claim multiplied by the Payment Percentage; however, the liquidated value
of any Asbestos Pl Claim that undergoes lndividual Review may be determined to be less
than the Scheduled Value the claimant would haile received under Expedited Review.
Moreover, the liquidated value for a claim involving Disease Levels I]I ~ VII shall not
exceed the Maximum Value for the relevant Disease Level set forth in Section 5.2(b)(3)
below, unless the claim meets the requirements of an Extraordinary Claim described in
Section 5.3(a) below, in which case its liquidated value cannot exceed the maximum
extraordinary value set forth in Section 5.3(a) for such claims. Because the detailed
examination and valuation process pursuant to lndividual Review requires substantial
time and effort, claimants electing to undergo the lndividual Review Process may be paid
on the basis of the liquidated value of their Asbestos PI Claims later than would have
been the case had the claimant elected the Expedited Review Process. Subject to the
provisions of Section 5.7, the Asbestos PI Trust shall devote reasonable resources to the
review of all claims to ensure that there is a reasonable balance maintained in reviewing
all Categories of claims.
(2) Valuation Factors to Bg CQn§idered in lndividual Review. The
Asbestos PI Trust shall liquidate the value of each Asbestos PI Claim that undergoes lndividual
Review based on the historic liquidated values of other similarly~situated claims in the tort
system for the same Disease Level. Accordingly, the Asbestos PI Trust shall take into
consideration all of the factors that affect the amount of damages and values in the tort system,
including, but not limited to, credible evidence of (i) the degree to which the characteristics of a
claim differ from the Medical/Exposure Criteria for the Disease Level in question; (ii) factors

such as the claimant’s age, disability, employment status, disruption of household, family or

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recreational activities, dependencies, special damages, and pain and suffering; (iii) whether the
claimant’s damages were (or were not) caused by asbestos exposure, including exposure to an
asbestos-containing product, or to conduct that exposed the claimant to ah asbestos-containing
product, for which Leslie Controls has legal responsibility, prior to December 31, 1986 (for
example, possible alternative causes and the strength of documentation of injuries); (iv) the
industry of exposure; (v) settlement and verdict histories in the Claimant’s lurisdiction for
similarly-situated claims; (vi) the extent of the claimant’s exposure to asbestos working below-
deck on Navy vessels; and (vii) the greater of (a) settlement and verdict histories for the
claimant’s law firm in the Claimant’s Jurisdiction for similarly-situated claims, and (b)
settlement and verdict histories for the claimant’s law firm, including all cases where the
claimant’s law firm satisfies the Asbestos PI Trust on the basis of clear and convincing evidence
provided to the Asbestos PI Trust that the claimant’s law firm played a substantial role in the
prosecution and resolution of the cases, such as actively participating in court appearances,
discovery and/or trial of the cases, irrespective of whether a second law firm was also involved
and would also be entitled to include the cases in its “settlement and verdict histories.” For the
avoidance of doubt, mere referral of a case, without further direct involvement, will not be
viewed as having played a substantial role in the prosecution and resolution of a case, In
liquidating the value of an Asbestos PI Claim that undergoes lndividual Review, the Asbestos PI
Trust shall treat a claimant as living if the claimant was alive at the time the initial pre-petition
complaint was filed or the proof of claim form was filed with the Asbestos PI Trust even if the
claimant has subsequently died.

For these purposes, the “Claimant’s Jurisdiction” is the jurisdiction in which the claim

was filed (if at all) against Leslie Controls in the tort system prior to the Commencement Date.

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lf the claim was not filed against Leslie Controls in the tort system prior to the Commencement
Date, the claimant may elect as the Claimant’s Jurisdiction (i) the jurisdiction in which the
claimant resides or resided at the time of diagnosis or when the claim is filed with ihe Asbestos
PI Trust; or (ii) a jurisdiction in which the claimant experienced exposure to an asbestos-
containing product, or to conduct that exposed the claimant to an asbestos-containg product,
for which Leslie Controls has legal responsibility

With respect to the “Clairnant’s Jurisdiction” in the event a personal representative or
authorized agent makes a claim under these Asbestos PI Trust Distribution Procedures for
wrongful death with respect to which the governing law of the Claimant’s lurisdiction could only
be the Alabama Wrongful Death Statute, the Claimant’s Jurisdiction for such claim shall be the
Commonwealth of Pennsylvania and such claimant’s damages shall be determined pursuant to
the statutory and common laws of the Commonwealth of Pennsylvania without regard to its
choice of law principles. The choice of law provision in Section 7.4 below applicable to any
claim with respect to which, but for this choice of law provision, the applicable law of the
Claimant’s Jurisdiction pursuant to Section 5.2(b)(2) is determined to be the Alabarna Wrongful
Death Statute, shall only govern the rights between the Asbestos PI Trust and the claimant, and,
to the extent the Asbestos PI Trust seeks recovery from any entity that provided insurance
coverage to Leslie Controls, the Alabama Wrongful Death Statute shall govern.

With respect to the “Claimant’s .lurisdiction” in the event a claim is made under these
Asbestos Pl Trust Distribution Procedures for compensatory damages that would otherwise
satisfy the criteria for payment under these Asbestos PI Trust Distribution Procedures, but the
claith is foreclosed from payment because the governing law of the Claimant’s .lurisdiction (a

“Foreclosed Jurisdiction”) describes the claim as a claim for “exemplary” or "‘punitive” damages

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and the claimant would have no other remedy for compensation under the law of the Foreclosed

Jurisdiction, the claimant may elect the Commonwealth of Pennsylvania as the Claimant’s

lurisdiction, and such claimant’s damages shall be determined pursuant to the statutory andi

common laws of the Commonwealth of Pennsylvania without regard to its choice of law

principles The choice of law provision in Section 7.4 below applicable to any claim with

respect to which, but for this choice of law provision, the applicable law of the Claimant’s

.lurisdiction pursuant to Section 5 .2(b)(2) is determined to be the law of a Foreclosed

Jurisdiction, shall govern only the rights between the Asbestos PI Trust and the claimant, and, to

the extent the Asbestos PI Trust seeks recovery from any entity that provided insurance coverage

to Leslie Controls, the law of the Foreclosed Jurisdiction shall govern.

(3) Schedgled, Average and Maximum Values. The Scheduled,

Average and Maximum Values for claims involving Disease Levels I-VH shall be as follows:

 

Leslie Powerhouse and Below-Deck Naval Station Claims;

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Scheduled Disease Scheduled Value Average Value Maximum Value
Mesothelioma (Level Vll) 100,000 140,000 350,000
Lung Cancer 1 (Level VI) 25,000 35,000 125,000
Lung Cancer 2 (Level V) N/A 18,000 22,000
Other Cancer (Level IV) 15,000 17,500 25,500
Severe Asbestosis (lcvel Il]) 17,500 20,000 30,000
Asbestosis/Pleural Disease (Level ll) 4,500 4,500 4,500
Asbestosis/Pleural Disease (Level l) 1,500 1,500 1,500
Leslie Construction and Maintenance Claims;

Scheduled Disease Scheduled Value Average Value Maximum Value
Mesothelioma (Level Vl]) 25,000 30,000 125,000
Lung Cancer l (Level VI) 7,500 10,000 37,500
Lung Cancer 2 (Level V) N/A 5,000 l0,000

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Other Cancer (Level IV) 5,000 7,500 15,000
Severe Asbestosis (Level I[l) 6,000 8,000 17,500
Asbestosis/Pleural Disease (Level II) 1,250 1,250 1,250 ‘
Asbestosis/meara Disease (Level n 500 500 500 ’

 

 

 

 

 

The foregoing Scheduled Values, Average Values and Maximum Values shall apply to
all Asbestos PI Claims filed with the Asbestos PI Trust on or before the Initial Claims Filing
Date as provided in Section 5.1 above. With respect to Asbestos PI Claims filed after such date,
the Asbestos PI Trust, with the consent of the Asbestos PI Trust Advisory Committee and the
Future Claimants’ Representative pursuant to Sections 6.7(b) and 7.7(b) of the Asbestos PI Trust
Agreement may change these value amounts for good cause and consistent with any other
restrictions on the power to amend or modify these Asbestos PI Trust Distribution Procedures.

(4) Claims Processingr under lndividual Review. At the conclusion of
the lndividual Review Process, the Asbestos PI Trust shall: (i) determine the liquidated value, if
any, of the claim, and (ii) advise the claimant of its determination. If the Asbestos PI Trust
establishes a liquidated value, it shall tender to the claimant an offer of payment of the
determined value multiplied by the applicable Payment Percentage, together with a form of
release approved by the Asbestos PI Trust, lf the claimant accepts such offer, including such
liquidated value, and returns the release properly executed, the claim shall be placed in the FIFO
Payment Queue, following which the Asbestos PI Trust shall make payment on the claim subject
to the limitations, if any, of the Maximum Annual Payment and Claims Payment Ratio.

5.3 Categorizing Claims as Extraordinarv and/or Exiszent.

(a) Extraordjg;gy Claims. “Extraordinary Claim" means an Asbestos PI
Claim that otherwise satisfies the Medical Criteria for Disease Levels 111 - VH, and that is held

by a claimant whose exposure to asbestos was at least 75% the result of exposure to asbestos-

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containing product, or to conduct that exposed the claimant to an asbestos-containing product,
for which Leslie Controls has legal responsibility, and there is little likelihood of a substantial
recovery elsewhere. All such Extraordinary Claims shall be presented for lndividual Review
and, if valid, shall be entitled to a liquidation value of up to a maximum extraordinary value of
five (5) times the Scheduled Value set forth in Section 5.2(b)(3) for claims qualifying for Disease
Levels 111 - IV, VlV and VII, and five (5) times the Average Value set forth in Section 5.2(b)(3)
for claims in Disease Level V, multiplied by the applicable Payment Percentage.

Any dispute as to Extraordinary Claim status shall be submitted to a special panel
established by the Asbestos PI Trust with the consent of the Asbestos PI Trust Advisory
Committee and the Future Claimants’ Representative (the “Extraordinary Claims Panel"). All
decisions of the Extraordinary Claims Panel shall be final and not subject to any further
administrative or judicial review. An Extraordinary Claim, following its liquidatio'n;~shall be
placed in the FIFO Payment Queue ahead of all other Asbestos PI Claims, except Exigent Claims
(as defined in Section 5.3(b) below), based on its date of liquidation and shall be subject to the
Maximum Annual Payment and Claims Payment Ratio described above.

(b) Exigent Claims. At any time the Asbestos PI Trust may liquidate and pay
Asbestos PI Claims that qualify as Exigent Health Claims or Exigent Hardship Claims (together,
“Exigent Claims”) as defined below. Exigent Claims may be considered separately under the
lndividual Review Process no matter what the order of processing otherwise would have been
under these Asbestos PI Trust Distribution Procedures, An Exigent Claim, following its
liquidation, shall be placed first in the FIFO Payment Queue ahead of all other Asbestos PI
Claims and shall be subject to the Maximum Annual Payment and Claims Payment Ratio

described above.

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(1) Exigent Health Claims, An Asbestos PI Claim qualifies for
payment as an Exi gent Health Claim if the claim meets the Medical/Exposure Criteria for
Mesothelioma (Disease Level VII) and the claimant is living when the claim is filed. A claim in
Disease Levels IH-Vl qualifies as an Exigent Health Claim if the claim meets the
Medical/Exposure Criteria for the Disease Level, and the claimant provides a declaration or
affidavit made under penalty of perjury by a physician who has examined the claimant within
one hundred twenty (120) days of the date of declaration or affidavit in which the physician
states (a) that there is substantial medical doubt that the claimant will survive beyond six (6)
months from the date of the declaration or affidavit, and (b) that the claimant’s terminal
condition is caused by the relevant asbestos-related disease.

(2) Exigent Hardship Claims. An Asbestos PI Claim qualifies for
payment as an Exigent Hardship Claim if the claim meets the Medical/Exposure Criteria for
‘ Severe Asbestosis (Disease Level lIl) or an asbestos-related malignancy (Disease£Levels IV -
VII), and the Asbestos PI Trust, in its sole discretion, determines (i) that the claimant needs
immediate financial assistance based on the claimant’s expenses and all sources of available
income, and (ii) that there is a causal connection between the claimant’s dire financial condition
and the claimant’s asbestos-related disease.

5.4 SeconM Exgg§gre_ Claims. If a claimant alleges an asbestos-related disease
resulting solely from exposure to an occupationally exposed person, such as a family member,
the claimant must seek lndividual Review of his or her claim pursuant to Section 5.2(b) above.
In such a case, the claimant must establish that the occupationally exposed person would have
met the exposure requirements under these Asbestos PI Trust Distribution Procedures that would

have been applicable had that person filed a direct claim against the Asbestos PI Trust, ln

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addition, the claimant with secondary exposure must establish that he or she is suffering from
one of the seven Disease Levels described in Section 5 .2(a)(3) above or an asbestos-related
disease otherwise compensable under these Asbestos PI Trust Distribution Procedures, that his or
her own exposure to the occupationally exposed person occurred within the same time frame as
the occupationally exposed person was exposed to asbestos-containing products or conduct for
which Leslie Controls has legal responsibility, and that such secondary exposure was a cause of
the claimed disease. All other liquidation and payment rights and limitations under these
Asbestos Pl Trust Distribution Procedures shall be applicable to such claims, including the right
to elect Scheduled Value.

5.5 Indirect Asbestos PL Qlaim_s. Indirect Asbestos PI Claims asserted against the
Asbestos PI Trust shall be treated as valid and paid by the Asbestos PI Trust subject to the
applicable Payment Percentage (and all other limitations applicable to direct claims hereunder) if
(a) such claim satisfied the requirements of the Bar Date for such claims established by the
Bankruptcy Court,° 1f applicable, and is not otherwise disallowed by Section 502(e) of the Code
or subordinated under Section 509(c) of the Code, and (b) the holder of such claim (the “Mr_e_c_t
Clg'mant”) establishes to the satisfaction of the Asbestos PI Trustee that (i) the Indirect Claimant
has paid in full the liability and obligation of the Asbestos PI Trust to the individual claimant to
whom the Asbestos PI Trust would otherwise have had a liability or obligation under these
Asbestos PI Trust Distribution Procedures (the “Direct Claimant”) (and which has not been paid
by the Asbestos PI Trust), (ii) the Direct Claimant and the lndirect Claimant have forever and
fully released the Asbestos PI Trust and the Asbestos Protected Parties from all liability to the
Direct Claimant and the Indirect Claimant, and (iii) the claim is not otherwise barred by a statute

of limitations or repose or by other applicable law. In no event shall any Indirect Claimant have

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any rights against the Asbestos PI Trust superior to the rights of the related Direct Claimant
against the Asbestos PI Trust, including any rights with respect to the timing, amount or manner
of payment. In addition, no Indirect Asbestos PI Claim may be liquidated and paid in an amount
that exceeds what the Indirect Claimant has actually paid the related Direct Claimant in respect
of such Direct Claimant’s claim for which the Asbestos PI Trust would have liability.

In addition, to establish a presumptively valid Indirect Asbestos PI Claim, the Indirect
Claimant’s aggregate liability for the Direct Claimant’s claim must also have been fixed,
liquidated and paid fully by the Indirect Claimant by settlement (with an appropriate full release
in favor of the Asbestos PI Trust and the Asbestos Protected Parties) or a Final Order, provided
that such claim is valid under the applicable state law. In any case where the Indirect Claimant
has satisfied the claim of a Direct Claimant against the Asbestos PI Trust under applicable law
by way of a settlement, the Indirect Claimant shall obtain for the benefit of the Asbestos PI Trust
and the Asbestos Protected Parties a release in form and substance satisfactory to the Asbestos PI
Trustee.

If an Indirect Claimant cannot meet the presumptive requirements set forth above,
including the requirement that the Indirect Claimant provide the Asbestos PI Trust and the
Asbestos Protected Parties with a full release of the Direct Claimant’s claim, the Indirect
Claimant may request that the Asbestos PI Trust review the Indirect Asbestos PI Claim
individually to determine whether the Indirect Claith can establish under applicable state law
that the indirect Claimant has paid all or a portion of a liability or obligation that the Asbestos PI
Trust had to the Direct Claimant as of the date the indirect claim was filed with the Asbestos PI
Trust. If the Indirect Claimant can show that it has paid all or a portion of such a liability or

obligation, the Asbestos Pl Trust shall reimburse the Indirect Claimant the amount of the liability

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or obligation so paid, times the then applicable Payment Percentage. However, in no event shall
such reimbursement to the Indirect Claimant be greater than the amount to which the Direct
élaimant would have otherwise been entitled under these Asbestos PI Trust Distribution
Procedures Further, the liquidated value of any Indirect Asbestos PI Claim paid by the Asbestos
PI Trust to an Indirect Claimant shall be treated as an offset to or reduction of the full liquidated
value of any Asbestos 131 Claim that might be subsequently asserted by the Direct Claimant ..
against the Asbestos PI Trust,

Any dispute between the Asbestos PI Trust and an Indirect Claimant over whether the
Indirect Claimant has a right to reimbursement for any amount paid to a Direct Claimant shall be
subject to the ADR Procedures. If such dispute is not resolved under the ADR Procedures, the
Indirect Claimant may litigate the dispute in the tort system pursuant to Sections 5.10 and 7.6
below.

Indirect Asbestos PI Claims that have not been disallowed, discharged, or otherwise
resolved by prior order of the Bankruptcy Court shall be processed in accordance with
procedures to be developed and implemented by the Asbestos PI Trustee consistent with the
provisions of this Section 5 .5, which procedures (a) shall determine the validity, allowability and
enforceability of such claims, and (b) shall otherwise provide the same liquidation and payment
procedures and rights to the holders of such claims as the Asbestos PI Trust would have afforded
the holders of the underlying valid Asbestos Pl Claims, Nothing in these Asbestos PI Trust
Distribution Procedures is intended to preclude a trust to which asbestos-related liabilities are
channeled from asserting an Indirect Asbestos PI Claim against the Asbestos PI Trust subject to

the requirements set forth herein.

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5.6 Evidenti_a_g Reggirements.
(a) Medical Evidence.
k (l) In General. All diagnoses of a Disease Level shall be accompanied
by either (i) a statement by the physician providing the diagnosis that at least 10 years have
elapsed between the date of first exposure to asbestos or asbestos-containing products and the
diagnosis, or (ii) a history of the claimant’s exposure sufficient to establish a lO-year latency
period.9
" (A) >l?isease Levels l - IH. Except for asbestos claims filed
against Leslie Controls or any other defendant in the tort system prior to the
Commencement Date, all diagnoses of a non-malignant asbestos-related disease (Disease
Levels I :iHl)"shall be based in the case of a claimant who was living at the time the claim
was filedl-upo_n a physical examination of the claith by the physician providing the
diagnosis-of the asbestos-related disease. All living claimants must also provide: (i) for
Disease Levels l - II, evidence of Bilateral Asbestos-Related Nonrnalignant Disease (as
defined in Footnote 4 above), (ii) for Disease Level HI, an lLO10 reading of 2/1 or greater

or pathological evidence of asbestosis, and (iii) for Disease Levels lI and ]I[, pulmonary

function testing.ll A finding by a physician after the Effective Date that a claimant’s

 

9 All diagnoses of Asbestosis/Pleural Disease (Disease Levels I, II and 111) not based on pathology shall be presumed
to be based on findings of bilateral asbestosis or pleural disease, and all diagnoses of Mesothelioma (Disease Level
VII) shall be presumed to be based on findings that the disease involves a malignancy. However, the Asbestos Pl
Trust may rebut such presumptions

'° See note 7 above.

" “Pulrnonary function testing” or “PF'I” shall mean testing that is in material compliance with the quality criteria
established by the Amen'can Thoracic Society (“ATS”) and is performed on equipment which is in material
compliance with ATS standards for technical quality and calibration. PF[` performed in a hospital accredin by the
ICAHO (as defined in Section 5.6(a)(l)(B) below), or performed, reviewed or supervised by a board certified
pulmonologist or other Qualilied Physician shall be presumed to comply with ATS standards, and the claimant may
submit a summary report of the testing. Ifthe PFT was not performed in a JCAHO-accredited hospital, or
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disease is “consistent with” or “compatible with” asbestosis will not alone be treated by

the Asbestos PI Trust as a diagnosis.

In the casey of a claimant who was deceased at the time the claim was filed, all diagnoses
of a non-malignant asbestos-related disease (Disease Levels I - HI) shall be based upon either (i)
a physical examination of the claimant by the physician providing the diagnosis of the asbestos-
related disease, or (ii) pathological evidence of the non-malignant asbestos-related disease, or
(iii) in the case of Disease Levels I and H, evidence of Bilateral Asbestos-Related Nonmalignant

Disease (as defined in Footnote 4 above), and for Disease Level l]], either an lLO12 reading of

2/1 or greater or pathological evidence of asbestosis, or (iv) for either Disease Level 11 or III,

pulmonary function testing. ‘~; `

(B) Disease Levels IV -`V-]]. All diagnoses of an asbestos-

 

related malignancy (Disease Levels IV - VH) shall be based upon either (i) a physical
examination of the claimant by the physician providing the diagnosis of the asbestos-
related disease, or (ii) a diagnosis of such a malignant Disease Level by a board-certified
pathologist or by a pathology report prepared at or on behalf of a hospital accredited by
the Joint Commission on Accreditation of Healthcare Organizations (“JCAHO”).

(C) Exception to the Exception for Certain Pre-Petition
Asbestos PI Claims. If the holder of an Asbestos PI Claim that was filed against Leslie

 

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performed, reviewed or supervised by a board certified pulrnonologist or other Qualified Physician, the claimant
must submit the full report of the testing (as opposed to a summary report); provided, however, that if the PFI' was
conducted prior to the Effective Date and the full PFT report is not available, the claimant must submit a declaration
signed by a Qualified Physician or other party who is qualified to make a certification regarding the PFI`, in the form
provided by the Asbestos PI Trust, certifying that the PFT was conducted in material compliance with ATS
standards

'2 See note 6 above.

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Controls or any other defendant in the tort system prior to the Commencement Date has
available a report of a diagnosing physician engaged by the holder or his or her law firm
who conducted a pliysical examination of the holder as described in Section 5.6(a)(1)(A),
or if the holder has filed such medical evidence and/or a diagnosis of the asbestos-related
disease by a physician not engaged by the holder or his or her law firm who conducted a
physical examination of the holder with another asbestos-related personal injury
settlement trust that requires such evidence, without regard to whether the claimant or the
law firm engaged the diagnosing physician, the holder shall provide such medical
evidence to the Asbestos PI Trust notwithstanding the exception in Section 5.6(a)(l)(A).
(2) Qredibility of Medical Evidence. Before making any payment to a
claimant, the Asbestos PI Trust must have reasonable coanence that the medical evidence
provided in support of the claim is credible and consistent with recognized medical standards.
The Asbestos PI Trust may require the submission of X-rays, CT scans, detailed results of
pulmonary function tests, laboratory tests, tissue sarnples, results of medical examination or
reviews of other medical evidence, and may require that medical evidence submitted comply
with recognized medical standards regarding equipment, testing methods and procedures to
assure that such evidence is reliable. Medical evidence (i) that is of a kind shown to have been
received in evidence by a state or federal judge at trial, (ii) that is consistent with evidence
submitted to Leslie Controls for settlement purposes for payment of similar disease cases prior to
Leslie Controls’ bankruptcy, or (iii) that is a diagnosis by a physician shown to have previously
qualified as a medical expert with respect to the asbestos-related disease in question before a
state or federal judge using the same methodology and standard, is presumptively reliable,

although the Asbestos PI Trust may seek to rebut the presumption. Notwithstanding the

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foregoing or any other provision of these Asbestos PI Trust Distribution Procedures, any medical
evidence submitted by a physician or entity that the Asbestos PI Trust has determined, after
consulting with the Asbestos PI Trulst Advisory Committee and the Future Claimants’
Representative, to be unreliable shall not be acceptable as medical evidence in support of any
Asbestos PI Claim.

In addition, claimants who otherwise meet the requirements of these Asbestos PI Trust
Distribution Procedures for payment of an Asbestos PI Claim shall be paid irrespective of the
results in any-litigation at any time between the claimant and any other defendant in the tort
system. However, any relevant evidence submitted in a proceeding in the tort system, other than
_any findings of fact, a verdict, or a judgment, involving another defendant may be introduced by
either the claimant or the Asbestos PI Trust in any lndividual Review proceeding conducted
pursuant to 5.2 (b) or any Extraordinary Claim proceeding conducted pursuant to 5.3(a).

(b) Exposure Evidence.

(l) In General. As set forth above in Section 5.2(a)(3), to qualify for
any Disease Level, the claimant must demonstrate a minimum exposure to asbestos-containing
products, or to conduct that exposed the claimant to an asbestos-containing product, for which
Leslie Controls has legal responsibility. Claims based on conspiracy theories that involve no
exposure to an asbestos-containing product sold, distributed, marketed, handled, processed or
manufactured by Leslie Controls are not compensable under these Asbestos PI Trust Distribution
Procedures. To meet the presumptive exposure requirements of Expedited Review set forth in
Section 5.2 (a)(3) above, the claimant must show (i) for all Disease Levels, Leslie Controls
Exposure as defined in Section 5.6(b)(3) below prior to December 31, 1986, (ii) for

Asbestos/Pleural Disease Level I, six (6) months Leslie Controls Exposure prior to December 31,

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1986 plus five (5) years cumulative occupational asbestos exposure, and (iii) for
Asbestosis/Pleural Disease (Disease Level II), Severe Asbestosis (Disease Level III), Other
Cancer (Disease Level IV) or Lung Cancer l (Disease Level Vl), the claimant must show six (6)
months of Leslie Controls Exposure prior to December 31, 1986, plus Significant Occupatiorial
Exposure to asbestos as defined below, If a claimant asserting a claim in Disease Level l]I, IV,
V, VI or VII cannot meet the relevant presumptive exposure requirements for a Disease Level 4
eligible for Expedited Review, such claimant may seek lndividual l{eview of his or her claim
based on exposure to asbestos-containing products, or to conduct that exposed the claimant to an
asbestos-containing product, for which Leslie Controls has legal responsibility.

(2) Significant Occup_ational Exposure. “Significant Occupational
Exposure” means employment for a cumulative period of at least five (5) years, with a minimum
of two (2) years prior to December 31, 1986, in an industry and an occupation in which the
claimant (a) handled raw asbestos fibers on a regular basis, (b) fabricated asbestos-containing
products so that the claimant in the fabrication process was exposed on a regular basis to raw
asbestos fibers, (c) altered, repaired or otherwise worked with an asbestos-containing product
such that the claimant was exposed on a regular basis to asbestos iibers, or (d) was employed in
an industry and occupation such that the claimant worked on a regular basis in close proximity to
workers engaged in the activities described in (a), (b) and/or (c).

(3) Leslie Controls Exposure. The claimant must demonstrate
meaningful and credible exposure, which occurred prior to December 31, 1986, (a) to an
asbestos-containing product sold, distributed, marketed, handled, processed or manufactured by
Leslie Controls or for which Leslie Controls otherwise has legal responsibility, or (b) to conduct

for which Leslie Controls has legal responsibility that exposed the claimant to an asbestos-

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containing product (“Leslie Controls Exposure”). That meaningful and credible exposure
evidence may be established by an affidavit or sworn statement on personal knowledge of the
claimant, by an affidavit or sworn statement on personal knowiedge of a co-worker or the
affidavit or sworn statement on personal knowledge of a family member in the case of a
deceased claimant (provided that the Asbestos PI Trust finds such evidence reasonably reliable),
by invoices, employment, construction or similar records, or by other credible evidence. The
specific exposure information required by the Asbestos PI Trust to process a claim under either

""Expedited or lndividual Review shall be set forth on the proof of claim form to be used by the
Asbestos PI Trust. The Asbestos PI Trust can also require submission of other or additional
evidence of exposure when it deems such to be necessary.

Evidence submitted to establish proof of Leslie Controls Exposure is for the sole benefit
of the Asbestos PI Trust; not third parties or defendants in the tort system, The Asbestos PI Trust
has no need for, and therefore claimants are not required to furnish the Asbestos PI Trust with,
evidence of exposure to specific asbestos products other than those for which Leslie Controls has
legal responsibility, except to the extent such evidence is required elsewhere in these Asbestos PI
Trust Distribution Procedures, Similarly, failure to identify Leslie Controls Exposure in the
claimant’s underlying tort action, or to other bankruptcy trusts, does not preclude the claimant
from recovering from the Asbestos PI Trust, provided that the claimant satisfies the medical and
exposure requirements of these Asbestos PI Trust Distribution Procedures.

5.7 Clg'ms Audit Program. The Asbestos PI Trust with the consent of the Asbestos
PI Trust Advisory Committee and the Future Claimants’ Representative may develop methods
for auditing the reliability of medical evidence, including additional readings of X-rays and CT

scans and verification of pulmonary function tests, as well as the reliability of evidence of

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exposure to asbestos, including Leslie Controls Exposure, prior to December 31, 1986. In the
event that the Asbestos PI Trust reasonably determines that any individual or entity has engaged
in a pattern or practice of providing unreliable medical evidence, it ma}li decline to accept
additional evidence from such provider in the future

Further, in the event that an audit reveals that fraudulent information has been provided
to the Asbestos Pl Trust, the Asbestos PI Trust may penalize any claimant or claimant’s attorney
by disallowing the Asbestos PI Claim and/or by other means including, but not limited to,
requiring the source of the fraudulent information to pay the costs associated with the audit and
any future audit or audits, reordering the priority of payment of all affected claimants’ Asbestos
PI Claims, raising the level of scrutiny of additional information submitted from the same source
or sources, refusing to accept additional evidence from the same source or sources, seeking the
prosecution of the claimant or claimant’s attorney for presenting a haudulent claim in violation
of 18 U.S.C. §152, and/or seeking sanctions from the Bankruptcy Court.

5.8 Second Disease (Maliggancy) Claim§. The holder of an Asbestos PI Claim
involving a non-malignant asbestos-related disease (Disease Levels I through HI) may assert a
new Asbestos PI Claim against the Asbestos PI Trust for a malignant disease (Disease Levels lV
-VII) that is subsequently diagnosed. Any additional payments to which such claimant may be
entitled with respect to such malignant asbestos-related disease shall not be reduced by the
amount paid for the non-malignant asbestos-related disease, provided that the malignant disease
had not been diagnosed at the time the claimant was paid with respect to his or her original claim

involving the non-malignant disease.

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5.9 Arbitration.

(a) Establishment of ADR Procedures, The Asbestos PI Trust, with the

 

consent of the Asbestos PI Trust Advisory Committee and the Future Claimant§’ Representative,
shall develop and adopt ADR Procedures, which shall provide for pro-bono evaluation,
mediation and binding or non»binding arbitration to resolve disputes concerning whether the
Asbestos PI Trust’s outright rejectic`)n or denial of a claim was proper, or whether the claimant’s
medical condition or exposure history meets the requirements of these Asbestos PI Trust
Distribution Procedures for purposes of categorizing a claim involving Disease Levels I - VlI.
Proceedings under the ADR Procedures shall also be available for resolving disputes over the
liquidated value of a claim involving Disease Levels III 5 VII, as well as disputes over the
validity of an Indirect Asbestos PI Claim,

In all arbitrations, the arbitrator shall consider the same medical and exposure evidentiary
requirements that are set forth in Section 5 .6 above. In the case of an arbitration involving the
liquidated value of a claim involving Disease Levels 111 - Vl`l, the arbitrator shall consider the
same valuation factors that are set forth in Section S.Z(b)(é) above. To facilitate the lndividual
Review Process with respect to claims involving Disease Level II[, IV, VI or VH, the Asbestos
PI Trust may develop a valuation model that enables it to efficiently make initial settlement
offers on such claims. In an arbitration involving any such claim, the Asbestos PI Trust shall not
offer into evidence or describe any model or assert that any information generated by the model
has any evidentiary relevance or should be used by the arbitrator in determining the presumed
correct liquidated value in the arbitration. The underlying data that was used to create the model

may be relevant and may be made available to the arbitrator but only if provide do the claimant

or his or her counsel ten days prior to the arbitration proceeding The claimant and his or her

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counsel may use the data that is provided by the Asbestos PI Trust in the arbitration and shall

agree to otherwise maintain the confidentiality of such information. Any disputes regarding

confidentiality shall be resolved by the arbitrator. f
With respect to all claims eligible for arbitration, the claimant, but not the Asbestos PI

Trust, may elect either non-binding or binding arbitration The ADR Procedures may be

modified by the Asbestos PI Trust with the consent of the Asbestos PI Trust Advisory

' Committee and the Future Claimants’ Representative,

(b) Claims Eligible for Arbitration. In order to be eligible for arbitration on
the question of the appropriate liquidated value to be assigned a claim, the Claimant must first
complete the lndividual Review Process set forth in Section 5 .Z(b) above, as well as the pro bono
evaluation or mediation process set forth in the ADR Procedures, with respect to the disputed
issue. lndividual Review shall be treated as completed for these purpdses when the claim has
been individually reviewed, where applicable, by the Asbestos PI*,Trust, the Asbestos PI Trust
has made an offer on the claim, the claimant has rejected the liquidated value resulting from the
lndividual Review, and the claimant has notified the Asbestos Pl Trust of claimant’s rejection in
writing. lndividual Review will also be treated as completed if the Asbestos PI Trust has
rejected the claim,

(c) Limitations on and Payment of Arbitration Awards. In the case of a non-
Extraordinary Claim involving Disease Levels IlI - VII, the arbitrator shall not return an award in
excess of the Maximum Value for the appropriate Disease Level as set forth in Section 5 .2(b)(4)
above, and for an Extraordinary Claim involving one of those Disease Levels, the arbitrator shall
not return an award greater than the maximum extraordinary value for Such a claim as set forth in

Section 5 .3(a) above, A claimant who submits to binding arbitration will receive payments in

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the same manner as one who accepts the Asbestos PI Trust’s original valuation of the claim, If a
claimant elects non~binding arbitration and both the claimant and the Asbestos PI Trustee agree
to be bound by the award therein, then the claimant will receive payments in the same manner as
one who accepts the Asbestos PI Trust’s original valuation of the claim,

5. 10 Litigation. Ciaimants who elect non-binding arbitration and then reject their
arbitral awards retain the right to institute a lawsuit in the tort system against the Asbestos PI
Trust pursuant to Section 7.6 below. However, a claimant shall be eligible for payment of a
judgment for monetary damages obtained in the tort system from the Asbestos PI Trust’s
available cash only as provided in Section 7.7 below.

SECTION VI
Claims Materials

~~ 6.1 Claims Material§. The Asbestos PI Trust shall prepare suitable and efficient
claims materials (“Claims Materials”) for all Asbestos PI Claims, and shall provide such Claims
Materials upon a written request for such materials to the Asbestos PI Trust. In addition, a
separate claim form for Indirect Asbestos PI Claims shall be developed. The proof of claim form
to be submitted to the PI Trust shall require the claimant to assert the highest Disease Level for
which the claim qualifies at the time of filing The proof of claim form shall also include a
certification by the claimant or his or her attorney sufficient to meet the requirements of Rule
11(b) of the Federal Rules of Civil Procedure. In developing its claim filing procedures, the
Asbestos PI Trust shall make every effort to provide claimants with the opportunity to utilize
currently available technology in their discretion, including filing claims and supporting
documentation over the internet and electronically by disk or CD-rom. The proof of claim form
to be used by the Asbestos PI Trust shall be developed by the Asbestos PI Trust and submitted to

the Asbestos PI Trust Advisory Committee and the Future Claimants’ Representative for

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approval; it may be changed by the Asbestos PI Trust with the consent of the Asbestos PI Trust
Advisory Committee and the Future Claimants’ Representative,

6.2 Content of Claims Materials. The Claims Materials shall include a copy of these
Asbestos PI Trust Distribution Procedures, such instructions as the Asbestos PI Trustee shall
approve, and a detailed proof of claim form. If feasible, the forms used by the Asbestos PI Trust
to obtain claims information shall be the same or substantially similar to those used by other d
asbestos claims resolution organizations lf requested by the claimant, the Asbestos PI Trust
shall accept information provided electronically. The claimant may, but shall not be required to,
provide the Asbestos PI Trust with evidence of recovery from other asbestos defendants and
claims resolution organizations

6.3 Withdrawal or Deferral of Claims. A claimant may withdraw an Asbestos PI
Claim at any time upon written notice to the Asbestos PI Trust and file another claim
subsequently without affecting the status of the claim for statute of limitations purposes, but any
such claim filed after withdrawal shall be given a place in the FIFO Processing Queue based on
the date of such subsequent filing Also, a claimant may request that the processing of his or her
Asbestos PI Claim by the Asbestos PI Trust be deferred for a period not to exceed three (3) years
without affecting the status of the claim for statute of limitations purposes, in which case the
claimant shall also retain his or her original place in the FIFO Processing Queue. During the
period of such deferral, a sequencing adjustment on such claimant’s Asbestos PI Claim as
provided in Section 7.5 hereunder shall not accrue and payment thereof shall be deemed waived
by the claimant. Except for Asbestos PI Claims held by representatives of deceased or
incompetent claimants for which court or probate approval of the Asbestos PI Trust’s offer is

required, or an Asbestos PI Claim for which deferral status has been granted, a claim shall be

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deemed to have been withdrawn if the claimant neither accepts, rejects, nor initiates arbitration
within six (6) months of the Asbestos PI Trust’s written offer of payment or of rejection of the
claim. Upon written request, for good cause, the Asbestos PI Trust may extend the withdrawal
or deferral period for an additional six (6) months

6.4 Filing Reguirements and Fees. The Asbestos PI Trustee shall have the discretion
to determine, with the consent of the Asbestos PI Trust Advisory Committee and the Future
Claimants’ Representative, whether a filing fee should be required for any Asbestos PI Claims.
Any such requirement shall be applied, within any Category, on a non-discriminatory basis.

6.5 English Langgage. All claims, claims forms, submissions and evidence submitted
to the`Asbestos PI Trust or in connection with any claim or its liquidation shall be in the English
language

6.6 Confidentiality of Claimants’ Submissions. All submissions to the Asbestos PI
Trust by a holder of an Asbestos PI Claim, including the proof of claim form and materials
related thereto, shall be treated as made in the course of settlement discussions between the
holder and the Asbestos PI Trust and intended by the parties to be confidential and to be
protected by all applicable state and federal privileges, including, but not limited to, those
directly applicable to settlement discussions The Asbestos PI Trust shall preserve the
confidentiality of such claimant submissions, and shall disclose the contents thereof only with
the permission of the holder to another trust established for the benefit of asbestos personal
injury claimants pursuant to Section 524(g) and/or Section 105 of the Bankruptcy Code or other
applicable law, or to such other persons as authorized by the holder, or in response to a valid
subpoena. Furtheimore, the Asbestos PI Trust shall provide counsel for the holder a copy of any

such subpoena immediately upon being served. The Asbestos PI Trust shall on its own initiative

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or upon request of the claimant in question take all necessary and appropriate steps to preserve
any and all privileges. Notwithstanding anything in the foregoing to the contrary, with the
consent of the Asbestos PI Trust Advisory Committee and the Future Claimants’ Representative,
the Asbestos PI Trust may, in specific limited instances, disclose information, documents, or
other materials reasonably necessary in the Asbestos PI Trust’s judgment to preserve, litigate,
resolve or settle coverage, or to comply with an applicable obligation under an insurance policy
or settlement agreement within the Asbestos Insurance Rights; provided, however, that the
Asbestos PI Trust shall take any and all steps reasonably feasible in its judgment to preserve the
further confidentiality of such information, documents and materials, and prior to the disclosure
of such information, documents or materials to a third party, the Asbestos Pl Trust shall receive
from such third party a written agreement of confidentiality that (a) ensures that the information,
documents and materials provided by the Asbestos PI Trust shall be used solely by the receiving
party for the purpose stated in the agreement and (b) prohibits any other use or further
dissemination of the information, documents and materials by the third party.

SECTION VII
General Guidelin§ Fox' Liguidating And Pag'gg §§laig§

7.1 Showing R_eguired. To establish a valid Asbestos PI Claim, a claimant must meet
the requirements set forth in these Asbestos PI Trust Distribution Procedures. The Asbestos PI
Trust may require the submission of X-rays, CT scans, laboratory tests, medical examinations or
reviews, other medical evidence, or any other evidence to support or verify an Asbestos PI
Claim, and may further require that medical evidence submitted comply with recognized medical
standards regarding equipment, testing methods, and procedures to assure that such evidence is

reliable.

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7 .2 Costs Considered. Notwithstanding any provisions of these Asbestos PI Trust
Distribution Procedures to the contrary, the Asbestos PI Trustee shall always give appropriate
consideration to the cost of investigating and uncovering invalid Asbestos PI Claims so that the
payment of valid Asbestos PI Claims is not further impaired by such processes with respect to
issues related to the validity of the medical evidence supporting an Asbestos PI Claim, The
Asbestos Pl Trustee shall also have the latitude to make judgments regarding the amount of
transaction costs to be expended by the Asbestos PI Trust so that valid Asbestos PI Claims are
not unduly further impaired by the costs of additional investigation. Nothing herein shall prevent
the Asbestos PI Trustee, in appropriate circumstances, from contesting the validity of any claim
against the asbestos PI Trust whatever the costs, or declining to accept medical evidence from
sources that the Asbestos PI Trustee has determined to be unreliable pursuant to the Claims

Audit Prograni described in Section 5.7 above,

7.3 Discretion to Vaiy the Order LQ Amounts of Payments in the Event of limited
Liquidity. Consistent with the provisions hereof and subject to the FIFO Processing Queue and
the FIFO Payment Queue, the Maximum Annual Payment, and the Claims Payment Ratio
requirements set forth above, the Asbestos PI Trustee shall proceed as quickly as possible to
liquidate valid Asbestos PI Claims, and shall make payments to holders of such claims in
accordance with these Asbestos PI Trust Distribution Procedures promptly as funds become
available and as claims are liquidated, while maintaining sufficient resources to pay future valid
claims in substantially the same manner.

Because the Asbestos PI Trust’s income over time remains uncertain, and decisions about
payments must be based on estimates that cannot be done precisely, they may have to be revised

in light of experiences over time, and there can be no guarantee of any specific level of payment

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to claimants. However, the Asbestos PI Trustee shall use his or her best efforts to treat similar
claims in substantially the same manner, consistent with his or her duties as Asbestos PI Trustee,
the purposes of the Asbestos PI Trust, the established allocation of funds to claims in Categories
A and B, and the practical limitations imposed by the inability to predict the future with
precision. ln the event that the Asbestos PI Trust faces temporary periods of limited liquidity,
the Asbestos PI Trustee may, with the consent of the Asbestos PI Trust Advisory Committee and
the Future Claimants’ Representative, suspend the normal order of payment and may temporarily
limit orsuspend payments altogether, and may offer a Reduced Payment Option as described in
Section 2.5 above.

7 .4 punitive Damages. Except as provided below for claims asserted under the
Alabama Wrongful Death Statute and for claims asserted by a claimant for compensatory
damages that would otherwise satisfy the criteria for payment under these Asbestos PI Trust
Distribution Procedures but in respect of which the claimant is foreclosed from payment because
the governing law of a Foreclosed Jurisdiction (as defined in Section 5.2(b)(2) above) considers
the claim to be a claim for “exemplary” or “punitive” damages and in respect of which the
claimant would have no other remedy for compensation under the law of the Foreclosed
lurisdiction, in determining the value of any liquidated or unliquidated Asbestos PI Claim,
punitive or exemplary damages, i.e., damages other than compensatory damages, shall not be
considered or allowed, notwithstanding their availability in the tort system Similarly, no
punitive or exemplary damages shall be payable with respect to any claim litigated against the
Asbestos PI Trust in the tort system pursuant to Sections 5.10 above and 7 .6 below, The only
damages that may be awarded pursuant to these Asbestos PI Trust Distribution Procedures to

Alabama Claimants who are deceased and whose personal representatives pursue their claims

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only under the Alabama Wrongful Death Statute shall be compensatory damages determined
pursuant to the statutory and common law of the Commonwealth of Pennsylvania, without
regardth its choice of law principles The choice of law provision in this Section 7.4 applicable
to any claim with respect to which, but for this choice of law provision, the applicable law of the
Claimant’s_Jurisdiction pursuant to Section 5.2(b)(2) is determined to be the Alabama Wrongful
Death Statute, shall only govern the rights between the Asbestos PI Trust and the claimant
including, but not limited to, suits in the tort system pursuant to Section 7.6, and to the extent the
Asbestos PI Trust seeks recovery from any entity that provided insurance to Leslie Controls, the
Alabama Wrongful Death Statute shall govern.

The only damages that may be awarded pursuant to these Asbestos PI Trust Distribution
Procedures for claims asserted by a claimant for compensatory damages that would otherwise
satisfy the criteria for payment under these Asbestos PI Trust Distribution Procedures, but in
respect of which the claith is foreclosed from payment because the governing law of a
Foreclosed Jurisdiction describes the claim as a claim for “exemplary” or “punitive” damages
and the claimant would have no other remedy for compensation under the law of the Foreclosed
Jurisdiction, shall be compensatory damages determined pursuant to the statutory and common
law of the Commonwealth of Pennsylvania, without regard to its choice of law principles The
choice of law provision in this Section 7.4 applicable to any claim with respect to which, but for
this choice of law provision, the applicable law of the Claimant’s Jurisdiction pursuant to Section
5.2(b)(2) is determined to be the law of the Foreclosed Jurisdiction, shall govern only the rights
between the Asbestos PI Trust and the claimant including, but not limited to, suits in the tort

system pursuant to Section 7 .6, and to the extent the Asbestos PI Trust seeks recovery from any

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entity that provided insurance to Leslie Controls, the law of the Foreclosed Jurisdiction shall
govern.
7.5 Sleguencing Adjustments.

(a) In General. Subject to the limitations set forth below, a sequencing
adjustment shall be paid on all Asbestos PI Claims With respect to which the claimant has had to
wait a year or more for payment, provided, however, that no claimant shall receive a sequencing
adjustment for a period in excess of seven (7) years on an unliquidated Asbestos PI Claim, The
sequencing adjustment factor shall be 4.5% per annum for each of the first five (5) years after the
Effective Date; thereafter, the Asbestos PI Trust shall have the discretion to change the annual _`
sequencing adjustment factor with the consent of the Asbestos PI Trust Advisory Committee and
the Future Claimants’ Representative

(b) Unliguidated Asbestos PI Claims. A sequencing adjustment shall be
payable on the Scheduled Value of any unliquidated Asbestos PI Claim that meets the
requirements of Disease Levels I - IV, VI and VH, whether the claim is liquidated under
Expedited Review, lndividual Review, or by arbitration. No sequencing adjustment shall be
available to or paid on any claim liquidated in the tort system pursuant to Section 5. 10 above and
Section 7.6 below, The sequencing adjustment on an unliquidated Asbestos PI Claim that meets
the requirements of Disease Level V shall be based on the liquidated value of such claim,
Sequencing adjustments on all such unliquidated claims shall be measured from the date of
payment back to the date that is one (1) year after the date on which the claim was placed in the
F1F0 Payment Queue, subject to the limitation that no claimant shall receive a sequencing

adjustment for a period in excess of seven (7) years,

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7.6 Sui`t§ in the Tort System. lf the holder of a disputed claim disagrees with the
Asbestos PI Trust’s determination regarding the Disease Level of the claim, the claimant’s
exposure history or the lfquidated value of the claim, and if the holder has first submitted the
claim to non-binding arbitration as provided in Section 5 .9 above, the holder may file a lawsuit
in the Claimant’s Jurisdiction as defined in Section 5.2 (b)(2) above, Any such lawsuit must be
filed by the claimant in his or her own right and name and not as a member or representative of a
class, and no such lawsuit may be consolidated with any other lawsuit. All defenses (including,
with respect to the Asbestos PI Trust, all defenses which could have been asserted by Leslie ‘
Controls) shall be available to both sides at trial; however, the Asbestos PI Trust may w_aive any
defense and/or concede any issue of fact or law. If the claimant was alive at the time the initial
pre-petition complaint was filed or the proof of claim form was filed with the Asbestos l’l Trust,
the case shall be treated as a personal injury case with all personal injury damages.to. be

considered even if the claimant has died during the pendency of the claim,

7 .7 Pavment of Judeents for Monev Damages. If and when a claimant obtains a
judgment in the tort system, the claim shall be placed in the FIFO Payment Queue based on the
date on which the judgment became final. Thereafter, the claimant shall receive from the
Asbestos PI Trust an initial payment (subject to the applicable Payment Percentage, the
Maximum Annual Payment, and the Claims Payment Ratio provisions set forth above) of an
amount equal to the greater of (i) the Asbestos Pl Trust’s last offer to the claimant, or (ii) the
award that the claimant declined in non-binding arbitration; provided, however, that in no event
shall such payment amount exceed the amount of the judgment obtained in the tort system. The
claimant shall receive the balance of the judgment, if any, in five (5) equal installments in years

six (6) through ten (10) following the year of the initial payment (also subject to the applicable

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Payment Percentage, the Maximum Annual Payment and the Claims Payment Ratio provisions
above in effect on the date of the payment of the subject installment).

in the case of non-Extraordinary cliiims involving Disease Levels I]] - VII, the total
amounts paid with respect to such claims shall not exceed the Maximum Values for such Disease
Levels set forth in Section 5.2(b)(3). ln the case of Extraordinary Claims, the total amounts paid
with respect to such claims shall not exceed the maximum extraordinary values for such claims
set forth in Section 5.3 above. Under no circumstances shall (a) sequencing adjustments be paid
pursuant to Section 7.5, or (b) interest be paid under any statute on any judgments obtained in the
tort system, l

7.8 Releases. The Asbestos PI Trustee shall have the discretion to determine the form
and substance of the releases to be provided to the Asbestos PI Trust and the Asbestos Protected
Parties in order to maximize recovery for claimants against other tortfeasors without increasing
the risk or amount of claims for indemnification or contribution from the Asbestos PI Trust or
the Asbestos Protected Parties with respect to the Asbestos PI.Claim. As a condition-.to:_inaking
any payment to a claimant, the Asbestos PI Trust shall obtain, for the benefit of the Asbestos PI
Trust and the Asbestos Protected Parties, a general, partial, or limited release as appropriate in
accordance with the applicable state or other law. lf allowed by state law, the endorsing of a
check or draft for payment by or on behalf of a claimant may, in the discretion of the Asbestos PI
Trust, constitute such a release.

7.9 Third~Party Services. Nothing in these Asbestos Pl Trust Distribution Procedures
shall preclude the Asbestos PI Trust from contracting with another asbestos claims resolution
organization to provide services to the Asbestos PI Trust so long as decisions about the

' categorization and liquidated value of Asbestos PI Claims are based on the relevant provisions of

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these Asbestos PI Trust Distribution Procedures, including the Disease Levels, Scheduled
Values, Average Values, Maximum Values, and Medical/Exposure Criteria set forth above.

7. 10 Asbe§tg§ 21 Trust Disclosure of Infoi‘mation. Periodically, but not less often than
once a year, the Asbestos PI Trust shall make available to claimants and other interested parties,
the number of claims by Disease Levels that have been resolved both by the lndividual Review
Process and by arbitration as well as by litigation in the tort system indicating the amounts of the
awards and the averages of the awards by jurisdiction.

SECTION VIII

Miscellaneous

8.1 Amendments. Except as otherwise provided herein, the Asbestos PI Trustee may
amend, modify, delete, or add to any provisions of these Asbestos PI Trust Distribution
Procedures (including, without limitation, amendments to conform these Asbestos PI Trust
Distribution Procedures to advances in scientific or medical knowledge or other changes in
circumstances), provided he or she first obtains the consent of the Asbestos PI Trust Advisory
Committee and the Future Claimants’ Representative pursuant to the Consent Process set forth in
Sections 6.7(b) and 7.7(b) of the Asbestos PI Trust Agreement, except that the right to amend the
Claims Payment Ratio is also governed by the restrictions in Section 2.5 above, and the right to
adjust the Payment Percentage is also governed by Section 4.2 above. Nothing herein is
intended to preclude the Asbestos PI Trust Advisory Committee or the Future Claimants’
Representative from proposing to the Asbestos PI Trustee, in writing, amendments to these
Asbestos PI Trust Distribution Procedures. Any amendment proposed by the Asbestos PI Trust
Advisory Committee or the Future Claimants’ Representative shall remain subject to Section 8.3

of the Asbestos PI Trust Agreement

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8.2 Severabilig¢. Should any provision contained in these Asbestos PI Trust
Distribution Procedures be determined to be unenforceable, such detemu'nation shall in no way
limit or affect the enforceability and operative effect of any and all other provisions of these
Asbestos PI Trust Distribution Procedures, Should any provision contained in these Asbestos PI
Trust Distribution Procedures be determined to be inconsistent with or contrary to Leslie
Controls’ obligations to any insurance company providing insurance coverage to Leslie-Controls
in respect of claims for personal injury based on exposure to an asbestos-containing product, or
to conduct that exposed the claimant to an asbestos-containing product, for which Leslie
Controls has legal responsibility or products containing asbestos for which_'Leslie Controls has
legal responsibility, the Asbestos PI Trust, with the' consent of the Asbestos I;I Trust Advisory
Committee and the Future Claimants’ Representative, may amend these Asbestos/PI Trust
Distribution Procedures and/or the Asbestos PI Trust Agreement to make the provisions of either
or both documents consistent with the duties and obligations of Leslie Controls to said insurance
company.

8.3 Goveming Law. Except for purposes of determining the liquidated value of any
Asbestos PI Claim, administration of these Asbestos PI Trust Distribution Procedures shall be
governed by, and construed iii accordance with, the laws of the State of Delaware. 'l`he law
governing the liquidation of Asbestos PI Claims in the case of lndividual Review, mediation,
arbitration or litigation in the tort system shall be the law of the Claimant’s Jurisdiction as
described in Section 5 .2 (b)(Z) above.

8.4 Administration of Asbestos PI Trust Assets with Other Comparable Trusts. In

order to efficiently administer the Asbestos PI Trust Assets, the Asbestos PI Trustee may

determine, with the consent of the Asbestos PI Trust Advisory Committee and the Future

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Claimants’ Representative, to provide for the administration of the Asbestos PI Trust Assets
and/or these Asbestos PI Trust Distribution Procedures by or in conjunction with another trust or
trusts established under Section 524(g) of the Bankruptcy Code, provided, however, that
appropriate accounting, trust and other procedures shall be adopted and followed to ensure that
the Asbestos PI Trust’s res is maintained separate and segregated from any other trust’s assets or

res and the Asbestos PI Trust’s value can be separately ascertained at all appropriate times.

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EXHIBIT l)
LESLlE PROM]SSORY NOTE

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UNTIL ONE YEAR AFTER THE PLAN EFFECTIVE DATE (AS DEFINED HEREIN),
NEITHER TI:IIS NOTE (AS DEFINED HEREIN') NOR ANY INTEREST HEREIN MAY
BE SOLD, DISTRIBUTED, ASSIGNED, OFFERED, PLEDGED OR OTHERWISE
TRANSFERRED WITHOUT THE PRIOR WRITTEN CONSENT OF THE OBLIGOR
(AS DEFINED HEREIN), WHICH CONSENT MAY BE WITHHELD IN THE SOLE v
DISCRETION OF THE OBLIGOR.

THIS NOTE HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933
AS AlV[ENDED, OR APPLICABLE STATE SECURITIES LAWS. WITHOUT IN ANY
WAY LIMITING TI-IE TERMS OF THE FOREGOING PARAGRAPH, NO INTEREST
IN THIS NOTE MAY BE SOLD, DISTRIBUTED, ASSIGNED, OFFERED, PLEDGED g
OR OTHERWISE TRANSFERRED WITHOUT AN APPLICABLE EXEMP’I'ION

n FROM REGISTRATION.

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LESLIE CONTROLS, INC.
SECURED PRON[ISSORY NOTE

 

, 2010 ' $1,000,000

FOR VALUE RECEIVED, the undersigned, Leslie Controls, Inc., a Delaware
corporation (the “leigor”), hereby promises to pay to the order of Leslie Controls, Inc.
Asbestos Personal lnjury Trust, a Delaware statutory trust (together with its successors or
permitted assigns, the “Holder”), the principal amount of $1,000,000.00, with simple interest
thereon at the rate of 5% per annum, subject to the terms and conditions hereof.

Capitalized terms used but not otherwise defined in Section 12 of this Secured
Promissory Note (this “Ll_o_t§”) have the meanings specified in the Plan of Reorganization of
Leslie Controls, Inc. Under Chapter 11 of the Bankruptcy Code, dated , 2010 (as
modiEed and/or amended from time to time, the “_Ifl_a_n”), as confirmed by the United States
Bankruptcy Court for the Distiict of Delaware, or, as the case may be, the United States Distn'ct
Court for the District of Delaware in a confirmation order entered on , 2010,
together with the exhibits and schedules thereto. This Note is the “Leslie Promissory Note”
referred to in such Plan.

1. PAYl\'IENT OBLIGATIONS; SECURITY

1.1 Scheduled ngments M Bregam§nz. The amount outstanding hereunder shall
be due and payable in equal quarterly installments of $10,000.00 (each, an “lnstallment

Payment” and collectively, the “Installment Payments”), commencing on the first anniversary of
the Effective Date of the Plan, with each such subsequent lnstallment Payment due on the
fifteenth (15th) day after the last date of each subsequent calendar quarter, until

2020 (the “Final Maturity Date”); provided, however, that the Final Maturity Date may be
extended at the option of the Holder for any period deemed acceptable by the Holder. Interest on
the then-outstanding principal amount of the Note shall accrue at a rate per annum of 5% and
shall be paid quarterly (each, an “Interest Pa ment” and collectively, the “Lgterest Payments”)
commencing on the first anniversary of the Effective Date of the Plan, with each such subsequent
Interest Payment due on the Hfteenth (15th) day after the last date of each subsequent calendar

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quarter, until the Final Maturity Date. All lnstallment Payments shall be applied to reducing the
principal amount of this Note and all Interest Payments shall be applied to interest accrued on

this Note. Notwithstanding anything herein to the contrary, the Obligor may, at any time after

payment of the first installment, prepay the principal amount of the Note in whole or in part, t
without premium or penalty, and any such prepayment of principal shall be accompanied by a \'
payment of the accrued and unpaid interest on such principal amount.

1.2 Maturi;y, Surrender. In the case of each payment pursuant to this Section 1, the
principal amount to be paid shall mature and become due and payable on the date fixed for such

payment If this Note is paid' in full, it shall be surrendered to the Obligor and cancelled and
shall not be reissued.

1.3 Method of Qg_yment. All payments made hereunder to the Holder shall be made
not later than 12`:00 noon (Eastern Time) on the day when due by wire transfer of immediately
available funds for credit to such account or accounts as the Holder shall have designated by
thirty (30) days’ prior written notice to the Obligor. Anything in this Note to the contrary
notwithstanding, any payment hereunder that is due on a date other than a Business Day shall be
made on the next succeeding Business Day.

1.4 Securigg. On the date hereof, the Pledgor, as sole owner of 100% of the ,
authorized, issued and outstanding equity interests in the Obligor, is entering into the Pledge
Agreement, pursuant to which it agrees to secure all of the Obligor’s obligations hereunder. The
Pledge Agreement provides for the grant to the Holder of a security interest in 100% of the

outstanding equity interests in the Obligor directly owned by the Pledgor (such pledged assets,
the “Collateral”).

2. REPRESENTATIONS OF HOLDER

Each Holder, whether the initial Holder or any subsequent Holder, represents, and it is
specifically understood and agreed, that the Holder is not acquiring the Note with a view for sale,
or to sell, in connection with any distribution thereof within the meaning of the Securities Act,
provided that the disposition of the Holder’s property shall at all times be and remain within the
Holder’s control. The Holder hereby acknowledges that none of this Note, the Pledge
Agreement or the Collateral have been registered, and in no event shall the Obligor be required
to register any of the foregoing, under the Securities Act or any state securities laws.

3. REPRESENTATIONS OF THE OBLIGOR

(a) The Obligor is duly organized, validly existing, and in good standing
under the laws of the jurisdiction of its formation and has full corporate power to execute,
deliver, and perform this Note.

(b) The execution, delivery, and performance of this Note has been and
remains duly authorized by all necessary corporate action on the part of the Obligor and does not
result in a contravention by the Obligor of any material provision of applicable law or of the
Obligor’s organizational documents or any material contractual restriction binding on the
Obligor or its assets.

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(c) All material consents, authorizations, and approvals of, and registrations
and declarations with, any governmental authority necessary for the due execution, delivery, and
performance of this Note by the Obligor have been obtained or will, substantially concurrently
with the Plan Effective Date, be obtained and will remain in full force and effect and all
conditions hereof have been duly complied with, and no other action by, and no notice to or
filing with, any government authority is required to be made or obtained by the Obligor in
connection with the execution, delivery, or performance of this Note by the Obligor.

(d) This Note constitutes the legal, valid, and binding obligation of the
Obligor enforceable against the Obligor in accordance with its terms, subject, as to enforcement,
to bankruptcy, insolvency, reorganization, and other laws of general applicability relating to or
affecting creditors’ rights and to general equity principles.

4. EVENTS OF DEFAULT
An “Event of Default” shall exist if any of the following conditions or events shall occur:

(a) except as otherwise provided herein, the Obligor defaults in the payment
of any principal and/or interest when the same becomes due and payable hereunder and, in either
case, such default remains unremedied for a period of fifteen (15) business days after written
notice of such default is delivered to the Obligor and the Pledgor (any such written notice to
labeled “NOTICE OF DEFAULT” and to refer specifically to this paragraph (a) of Section 4),
whether at maturity or at a date fixed for payment or by declaration or otherwise;

(b) the Obligor defaults in any material respect in the performance of or
compliance with any material term contained herein (other than those referred to in paragraph (a)
of this Section 4) or the Pledgor defaults in any material respect in the performance or
compliance with any material term contained in the Pledge Agreement, and in each case such
default is not remedied within fifteen (15) business days after written notice of such default is
delivered to the Obligor and Pledgor (any such written notice to be labeled as “NOTICB OF
DEFAUL ” and to refer specifically to this paragraph (b) of Section 4);

(c) any representation or warranty by the Obligor in this Note or the Pledgor
in the Pledge Agreement proves to have been false or incorrect in any material respect on the
date hereof, and any defect in such representation or warranty is not corrected within fifteen (15)
business days after written notice of such defect is delivered to the Obligor and Pledgor (any
such written notice to be identified as a “NOTICE OF DEFAULT” and to refer specifically to
this paragraph (c) of Section 4);

(d) the Obligor or the Pledgor (i) files, or consents by answer or otherwise to
the filing against it of, a petition for relief or reorganization or arrangement or any other petition
in bankruptcy, for liquidation, or to take advantage of any bankruptcy, insolvency,
reorganization, moratorium, or other similar law of any jurisdiction, (ii) makes a general
assignment of substantially all of its assets for the benefit of its creditors, (iii) consents to the
appointment of a custodian, receiver, trustee, or other officer with similar powers with respect to
it or with respect to substantially all of its property, (iv) is adjudicated as insolvent or to be
liquidated, or (v) authorizes any of the foregoing;

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(e) a court or governmental authority of competent jurisdiction enters an order
appointing a custodian, receiver, trustee, or other officer with similar powers with respect to it or
with respect to substantially all of the Obligor’s or Pledgor’s property, or constituting an order
for relief or approving a petition for relief or reorganization or any other petition in bankruptcy
or for liquidation or to take advantage of any bankruptcy or insolvency law of any jurisdiction, or
ordering the dissolution, winding-up, or liquidation of the Obligor or the Pledgor, or any such
petition shall be filed against the Obligor or the Pledgor, if, in each case, such order or petition
remains unstayed and in effect for more than sixty (60) consecutive days;

(i) Obligor sells or disposes of all or substantially all of its assets, without
prior written consent of Holder; or

(g) . the liquidation or winding up of the Obligor.
5. REMEDIES UPON DEFAULT.
5. l Accelercition.

(a) ':`“'~'.Upon the occurrence of an Event of Default described in paragraph (d),
(e), (f), or (g) of Section 4 above, this Note shall automatically become immediately due and `
payable;

(b) If any other Event of Default has occurred and is continuing at the time the
Holder seeks to exercise its rights hereunder, the Holder may, at its option, by notice or notices
to the Obligor and the Pledgor, declare this Note to be immediately due and payable.

5 .2 Notice ong_c_'eleration and Pamx§nt of Amount Due.

(a) Upon this Note becoming immediately due and payable under Section 5.1,
whether automatically or by declaration, the Holder shall given written notice of such
Acceleration to the Obligor and the Pledgor (such notice to be labeled “NOTICE OF
ACCELERATION”).

(b) Within Efteen (15) business days following the delivery of such notice of
acceleration, the Obligor shall pay to the Holder the amount then due following such
acceleration.

5.3 Subseguen£ Bemedies. lf any Event of Default has occurred under Section 5.1,
Notice of Acceleration has been delivered under Section 5.2(a), and payment of the amount due
has not been made within the time provided under Section 5.2 (b), the Holder may, at its option,
exercise forthwith (to the extent and in such order as the Holder may elect, in its sole and
absolute discretion) any or all rights and remedies provided for herein, or otherwise at law or in
equity, by an action at law, suit in equity, or other appropriate proceeding or act, in each and
every case without presentment, demand, protest, or further notice, all of which are hereby
expressly waived by the Obligor.

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6. COLLATERAL EVENTS; REMEDY

6.1 Collateral Event. A “Collateral Event” shall exist if (i) this Note becomes
immediately due and payable under Section 5.1 hereof, (ii) Notice of Acceleration has been
delivered to the Obligor and Pledgor under Section 5.2(a) hereof, and (iii) the amount then due
has not been paid within the time provided in Section 5.2(b) hereof

6.2 EnforcementAgainst Collateral. Notwithstanding anything to the contrary in this
Note, specifically including (but not limited to) Section 5.3 hereof, only if a Collateral Event has
occurred and is continuing at the time the Holder seeks to exercise and enforce its rights against
the Collateral hereunder, the Holder may, with the consent of the Future Claimants’
Representative, proceed to protect and enforce its rights against the Collateral as provided in the
Pledge Agreement and exercise all rights and remedies of a secured party under the UCC.

7. -i~lEXPENSES.

7.1 E;_iyenses. The Obligor agrees, whether or not the transactions contemplated
hereby shall be consummated, to pay, and save the Holder harmless against liability for the
payment of, (i) all document production and duplication charges and the fees and expenses of
any special counsel engaged by the Holder in connection with this Note or the Pledge
Agreement, the execution, delivery, and performance hereby and thereby and any subsequent
proposed modification of, or proposed consent under, this Note or the Pledge Agreement,
whether or not such proposed modification shall be effected or proposed consent granted, and (ii)
the costs and expenses, including reasonable attorneys’ fees, incurred by the Holder in enforcing
any rights under this Note or the Pledge Agreement (whether in the context of a civil action,
adversarial proceedings, workout or otherwise) or in responding to any subpoena or other legal
process issued in connection with the enforcement of this Note or the Pledge Agreement or by
reason of the Holder’s having acquired this Note. All such expenses shall be paid by the Obligor
within 15 Business Days after receipt by the Obligor and Pledgor of a written request for
payment accompanied by documentation supporting such expenses

7.2 Survival. The obligations of the Obligor under this Section 7 will survive the
payment or transfer of this Note, the enforcement amendment, or waiver of any provision of this
Note, and the termination of this Note.

8. SURVIVAL OF REPRESENTATIONS AND WARRANTIES; ENTIRE
AGREEMENT

All representations and warranties contained herein shall survive the execution and
delivery of this Note, the transfer of this Note and the payment of this Note, and may be relied
upon by the Obligor, the Holder, and any subsequent Holder of this Note, regardless of any
investigation made at any time by or on behalf of such person. This Note embodies the entire
agreement and understanding between the Holder and the Obligor and supersedes all prior
agreements and understandings relating to the subject matter hereof,

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9. AMENDMENT AND WAIVER

(a) The Obligor agrees that the Holder may extend the time for repayment or
performance or accept partial payment or performance an unlimited number of times without
discharging or releasing the Obligor from its obligations under this Note,

(b) No course of dealing, delay, or omission on the part of the Holder in
exercising any right, power, or remedy in connection with this Note or the Pledge Agreement
shall operate as a waiver thereof or otherwise prejudice such Holder’s rights, powers, or
remedies, nor shall any single or partial exercise of any such right or power or any abandonment
or discontinuance of steps to enforce such a right or power preclude any other or further exercise
thereof or the exercise of any other right or power. No right, power, or remedy conferred by this
Note upon the Holder shall be exclusive of any other right, power, or remedy referred to herein
or now or hereafter available at law, in equity, by statute, or otherwise

(c) This Note may be amended, and the observance of any term hereof may be
waived (either retroactively or prospectively), but only with the written consent of the party
against whom enforcement thereof is to be sought (or such party’s attorney~in~fact), and then
such waiver shall be effective only in the specific instance and for the specific purpose for which
given.

10. NOTICES

All notices and communications provided for hereunder, including without limitation ,
those provided for in Sections 4, 5, and 7 above, shall be in writing and sent (a) by facsimile if
the sender on the same day sends a confirming copy of such notice by a recognized overnight-
de]ivery service (charges prepaid), or (b) by registered or certified mail with return receipt
requested (postage prepaid), or (c) by a recognized overnight delivery service (with charges
prepaid), as follows (or as otherwise directed in writing):

(i) if'to the Holder:

Leslie Controls, Inc. Asbestos Personal Injury Trust
Name(s)

Address

Address

Attention:

Facsimile:

With a copy (which alone will not constitute notice) to:

Narne
Address
Address
Attention:
Facsimile:

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(ii) if to the Obligor:

Leslie Controls, Inc.
c/o President

12501 Telecom Drive
Tampa, FL 33637-0906

with a copy (which alone will not constitute notice) to:

Norman L. Pernick, Esq.

Marion M. Quirk, Esq.

Cole, Schotz, Meisel, Forman & Leonard, P.A.
500 Delaware Avenue, 1410

Wilmington, DE 19801

(iii) if to the Pledgor:

CIRCOR International, Inc.
c/o General Counsel

25 Corporate Drive, Suite 130
Burlington, MA 01803

with a copy to (which alone will not constitute notice) to:

William R. Hanlon, Esq.

_ ' j Richard M. Wyner, Esq.
Goodwin Procter LLP
901 New York Avenue, N.W.
Washington, DC 20001

11. MIS CELLANEOUS

11.1 §;ngggation of_ Time Peri@¢_'. In this Note in the computation of periods of time
from a specified date to a later specified date, the word “from” means “from and including” and
the words “to” and until” each means “to but excluding.”

11.2 Agcgigm_`ngk@§. All accounting terms not specifically defined herein shall be
consumed in accordance with GAAP.

11.3 Severabili;y. Any provision of this Note that is prohibited or unenforceable in any
jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such prohibition or
unenforceability without invalidating the remaining provisions hereof, and any such prohibition
or unenforceability in any jurisdiction shall (to the full extent permitted by law) not invalidate or
render unenforceable such provision in any other jurisdiction

11.4 No ngggrse Agg_g§' § Others. No director, ofticer, employee, member, manager,
or equity interest holder, partner or representative of the Obligor shall have any personal liability
in respect of any obligations of the Obligor under this Note, or for any claim based on, with

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respect to, or by reason of such obligations or their creation, by reason of his/her or its status as
such. By accepting this Note, the Holder waives and releases all such liability, which waiver and
release is part of the consideration for the issuance of this Note by the Obligor.

" 11.5 Construction. Each covenant contained herein shall be construed (absent express
provision to the contrary) as being independent of each other covenant contained herein, so that
compliance with any one covenant shall not (absent such an express contrary provision) be
deemed to excuse compliance with any other covenant. Where any provision herein refers to
action to be taken by any person, or which such person is prohibited from taking, such provision
shall be applicable whether such action is taken directly or indirectly by such person.

11.6 Accegtance by Holder. Upon Holder’s acceptance of this Note, this Note shall
become a binding agreement between the Obligor and the Holder. Without limitation of the
foregoing, the Holder will be deemed, by its acceptance hereof, (i) to have agreed to the
provisions set forth in Sections 1 and 4 through (and including) 11 hereof, and (ii) to have made
the representations set forth in Section 2 hereof, `

ll.7 Goveming Law, Jurisdiction

(a) This Note shall be construed and enforced in"accordance with, and the
rights of the parties shall be governed by, the law of the State of New York excluding choice-of-
law principles of the law of such State that would require the application of the laws of a
jurisdiction other than such State.

(b) The Obligor and the Holder each hereby irrevocably and unconditionally
submits, for itself and its properties, to the nonexclusive jurisdiction of the Supreme Court of the
State of New York sitting in New York County and of the United States District Court for the
Southern Disnict of New York, and any appellate court from any thereof, in any action or
proceeding arising out of or relating to this Note, or for recognition or enforcement of any
judgment, and the Obligor and the Holder each hereby irrevocably and unconditionally agree that
all claims in respect of any such action or proceeding may be heard and determined in such New
York state court or, to the extent permitted by law, in such federal court. The Obligor and the
Holder each agrees that a final judgment in any such action or proceeding shall be conclusive
and may be enforced in other jurisdictions by suit on the judgment or in any other manner
provided by law. Nothing in this Note shall affect any right that the Obligor or the Holder may
otherwise have to bring any action or proceeding relating to this Note against the other or its
properties in the courts of any jurisdiction

(c) The Obligor and the Holder each hereby irrevocably and unconditionally
waives, to the fullest extent it may legally and effectively do so, any objection that it may now or
hereafter have to the laying of venue of any suit, action, or proceeding arising out of or relating
to this Note in any court referred to in Section ll.7(b) above, The Obligor and the Holder each
hereby irrevocably waives, to the fullest extent permitted by law, the defense of an inconvenient
forum to the maintenance of such action or proceeding in any such court.

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(d) The Obligor and the Holder each irrevocably consents to service of
process in the manner provided for notices in Section 10 hereof. Nothing in this Note shall affect
the right of the Obligor or the Holder to serve process in any other manner permitted by law.

12. DEFINITIONS

“Business Day” means any day other than a Saturday, a Sunday, or a day on which
commercial banks in New York City are required or authorized to be closed.

“Default” means an event or condition the occurrence or existence of which would, with
the lapse of time or the giving of notice or both, become an Event of Default.

“Event of Default” is defined in Section 4 hereof.

“GAAP” means generally accepted accounting principles as in effect from time to time in
the United States of America.

“Plan E§ective Date” means the “Effective Date” as defined in the Plan,

“Pledg§ Agreement” means, during such time as the Pledge Agreement is in effect, that
certain Pledge and Security Agreement regarding this Note, dated as of 2010, by
and among CIRCOR Intemational, Inc., as Pledgor, Leslie Controls, Inc. Asbestos Personal
lnjury Trust, as Secured Party, and Leslie Controls Inc., as Obligor, as the same may be
amended from time to time.

 

‘Pledgor’ ’,rneans during such time as the Pledge Agreement` is in effect, CIRCOR
lnternational Inc., a Delaware corporation.

“Rgsponsible Officer” means each of the chairman and chief executive oft`rcer, the
president, the chief financial officer, the treasurer, the secretary or any vice president (whether or
not further described by other terms, such as, for example, senior vice president or vice
president-operations) of the Obligor or of the Pledgor or, if any such office is vacant, any person
performing any of the functions of such office

“Securities Act ” means the Securities Act of 1933, as amended from time to time,

[Signature Page Follows]

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IN WITNESS WHEREOF, the Obligor has caused this Note to be executed by its duly
authorized officer as of the date first Written above.

Attest LESLIE CONTROLS, INC.

By:

 

Name:
Title:

AGREED AND ACCEPTED AS OF,
, 2010:

Leslie Controls, Inc.
Asbestos Personal Injury Trust

By:

 

Name:
Title:

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EXHIBIT E
PLEDGE AGRE EMENT

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PLEDGE AND SECURITY AGREEMENT

dated as of

. 2010

among

ClRCOR International, Inc.

and

Leslie Controls, Inc. Asbestos Personal Injury Trust
and

leslie Controls, Inc. as Obligor

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PLEDGE AND SECURITY AGREEMENT dated as of , 2010 (this
“Agi§ement”) among CIRCOR International, Inc., a Delaware corporation (the “Pledgor”), and
Leslie Controls, Inc. Asbestos Personal Injury Trust, a Delaware statutory trust (together with the
successors and assigns thereof, the “Secured Party”), and Leslie Controls, Inc., a Delaware
corporation, as Obligor. "

For good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the Pledgor has agreed to pledge and grant a security interest in the Collateral (as
defined below) as security for the Obligations (as defined below).

Accordingly, the parties herein agree as follows:
Section l. Detinitions.

(a) As used in this Agreement, the terms defined in the preamble hereto have ~
the meanings ascribed therein and the following terms have the meanings ascribed below:

“Collereraz" has the meaning assigned to such term in section 3.

“Initial Pledged Interests” means all authorized, issued and outstanding equity interests
of the Obligor as of the date hereof, comprised of 100% of the common stock of Leslie Controls,
Inc., together with all certificates evidencing the same.

“Note” means that certain Secured Promissory Note executed and delivered by the
Obligor to the Secured Party, dated as of , 2010, in the original principal amount of
$1,000,000.00, as amended or modified from time to time, together with any Note executed and
delivered in exchange, substitution or transfer thereof.

“Gbligations” means any and all principal and other amounts now or hereafter from time
to time owing by the Obligor to the Holder pursuant to the Note,

“Obligor” means Leslie Controls, Inc., a Delaware corporation, together with any
successor or assignee

“Pledged Interests” means, together with the lnitial Pledged Interests, all authorized,
issued and outstanding equity interests of the Obligor from time to time issued by the Obligor
and held by the Pledgor together with all certificates evidencing the same.

“Proceeds” has the meaning assigned to such term in the UCC.

“UCC°’ means the Uniform Commercial Code as in effect from time to time in the State
of New York.

(b) In addition, for all purposes hereof, capitalized terms used but not
otherwise defined herein have the respective meanings ascribed such terms (i) in the Note and
(ii) if not defined therein, in the UCC.

Pledge and Security Agreement
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(c) The foregoing definitions shall apply equally to the singular and plural
forms of the terms defined Whenever the context may require, any pronoun shall include the
corresponding masculine, feminine, and neuter forms. The words “include,” “includes,” and
“including” shall be deemed to be followed by the phrase “without limitation.” The word “will”
shall be construed to have the same meaning and effect as the wordé“shall.” Unless the context
requires otherwise (i) any definition of or reference to any agreement, instrument, or other
document herein shall be construed as referring to such agreement, instrument or other document
as from time to time amended, restated, supplemented, or otherwise modified (subj ect to any
restrictions on such amendments, restatements, supplements or modifications set forth herein or
therein), (ii) references to any law, constitution, statute, treaty, regulation, rule, or ordinance
(each a “law”) shall refer to that law as amended from time to time and include any successor
law, (iii) any reference herein to any person shall be construed to include such person’s
successors and permitted assigns, (iv) the words “herein,” “hereof,” and “hereunder,” and words
of similar import, shall be construed to refer to this Agreement in its entirety and not to any
particular provision hereof, (v) all references herein to Sections shall be construed to refer to
sections of this Agreement, and (vi) the disjunctive shall include the conjunctive and vice versa.

Section 2. Representations and Wa__r_ranties. The Pledgor represents and warrants to the
Secured Party that:

(a) Collateral, The Pledgor is the sole beneficial owner of the Collateral, and
no lien exists upon such Collateral other than the liens created hereby.

(b) Creation, Pe)fectz'on and Priority. The security interest created hereby
constitutes a valid and perfected security interest in the Collateral, and such perfected security
interest in such Collateral is subject to no equal or higher priority lien.

(c) Pledgor Informatz'on; Locan'on. As of date hereof, the exact name, the
location of the chief executive office, the jurisdiction of organization, and the IRS tax
identification number of the Pledgor are as follows:

 

 

 

 

 

 

 

Chief Executive Jurisdiction of
Name Office Formation I.D. No.
CIRCOR International, Inc. Burlington, MA Delaware

 

(d) Pledged Interests.

(i) The lnitial Pledged lnterests and all Pledged Interests
acquired after the date hereof by the Pledgor and in which a security
interest is created hereunder will be, duly authorized, validly issued, fully
paid, and nonassessable.

(ii) The Initial Pledged Interests constitute 100% of the issued
and outstanding voting common stock in the Obligor on the date hereof
(whether or not registered in the name of the Pledgor), whether such lnitial

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Pledged Interests are certificated or uncertificated, and the respective class
of the shares constituting such lnitial Pledged Interests.

(e) The Pledgor is duly organized, validly existing, and in good standing
under the laws of the jurisdiction of its incorporation and has full organizational power to
execute, deliver, and perform this Agreement.

(f) The execution, delivery, and performance of this Agreement by the
Pledgor have been, and remain, duly authorized by all necessary action on the part of the Pledgor
and do not result in a contravention by the Pledgor of any provision of law or of the Pledgor’s
organizational documents or any material contractual restriction binding on the Pledgor or its
assets.

(g) All consents, authorizations and approvals of, and registrations and
declarations with, any governmental authority necessary for the due execution, delivery, and
performance of this Agreement by the Pledgor have been obtained or will, substantially
simultaneously with the Plan Effective Date, be obtained and will remain in full force and effect
and all conditions thereof have been duly complied with, and no other action by, and no notice to
or filing with, any governmental authority is required to be made or obtained by the Pledgor in
connection with the execution, delivery, or performance of this Agreement by the Pledgor.

(h) This Agreement constitutes the legal, valid, and binding obligation of the
Pledgor enforceable against the Pledgor in accordance with its terms, subject as to enforcement,
to bankruptcy, insolvency, reorganization and other laws of general applicability relating to or
affecting creditors’ rights, and to general equity principles

Section 3. Grant of Security lnterest. As collateral security for the prompt payment in full
' when due (whether at stated maturity, by acceleration, or otherwise) of the Obligations, whether
now existing or hereafter from time to time arising, the Pledgor hereby grants to the Secured
Party a security interest in all of the Pledgor’s right and title to, and interest in, the Pledged
Interests, whether now owned or hereafter acquired and whether now existing or hereafter
corning into existence (such property described in this Section 3 being collectively referred to
herein as the “Collateral”).

Section 4. Further Assurances' Remedies. ln furtherance of the pledge and grant of security
interest pursuant to Section 3, the Pledgor agrees with the Secured Party as follows:

 

4.01 Deliveg and Other Perfection. The Pledgor shall:

(a) deliver to the Secured Party all certificated Pledged Interests that
constitute Collateral, endorsed and/or accompanied by such properly executed instruments of
assignment and transfer in such form and substance as the Secured Party may reasonably request,
including, without limitation, one or more duly executed stock powers;

(b) give, execute, deliver, file, record, authorize, or obtain all such Hnancing
statements, notices, instructions, memoranda, acknowledgements, instruments, agreements,
consents, or other documents as may be necessary in the reasonable judgment of the Secured
Party to create, preserve, perfect, or validate the security interest granted pursuant hereto or to

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enable the Secured Party to exercise and enforce its rights hereunder or under the UCC or other
applicable law with respect to such security interest, including (after the occurrence of a
Collateral Event) causing any or all of the Pledged Interests that constitute Collateral to be
transferred of record into the name of the Secured Party or its nominee; and

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(c) take such other action as the Secured Party shall reasonably deem
necessary to acquire a first priority, perfected lien on the Collateral under the UCC. The Pledgor
shall not permit any other liens on the Collateral.

4.02 Financing Statements. The Pledgor hereby authorizes the Secured Party to file one
or more financing statements in respect of the Pledgor as debtor in such filing offices in such
jurisdictions with which such a filing is (a) required to perfect the security interest granted

' hereunder by the Pledgor or (b) reasonably desirable (in the Secured Party’s sole discretion) to
give notice of the security interest granted hereunder by the Pledgor.

4.03 Other Financing Statements and Control. Without the prior written consent of the
Secured Party, the Pledgor shall not (a) authorize the filing in any jurisdiction of any financing
statement or like instrument with respect to the Collateral in which the Secured Party is not
named as the sole secured party or (b) cause or permit any person other than the Pledgor or the
Secured Party to acquire “control” (as defined in Section 8~l06 of the UCC or as otherwise
construed for purposes of Article 8 or 9 of the UCC) over the Collateral,

~ 4.04 Special Provi§ig_r_i_§ Relating to Pledged Interests.

(a) Without limiting or otherwise affecting the security interest granted under
Section 3, the Pledgor will, at all times, cause such security interest to be a perfected first-
priority security interest on no less than 100% of the total number of voting shares of common
stock of the Obligor then outstanding on a fully diluted basis.

(b) So long as no Collateral Event shall have occurred and be continuing, the
Pledgor shall have the right to exercise all voting, consensual, and other powers of ownership
pertaining to the Pledged Interests, and the Secured Party shall execute and deliver to the Pledgor
or cause to be executed and delivered to the Pledgor all such proxies, powers of attorney,
dividend and other orders, and all such instruments, without recourse, as the Pledgor may
reasonably request for the purpose of enabling the Pledgor to exercise the rights and powers that
it is entitled to exercise pursuant to this Section 4.04(b). From and after the occurrence of any
Collateral Event, the Secured Party shall have the right to exercise all voting, consensual and
other powers of ownership pertaining to the Pledged Interests.

(c) Unless and until a Collateral Event has occurred, the Pledgor shall be
entitled to receive and retain any and all dividends and distributions on the Pledged Interests.

(d) If any Collateral Event shall have occurred, (i) all dividends and other
distributions on the Pledged Interests shall be paid or distributed directly to the Secured Party,
(ii) if the Secured Party shall so request in writing, the Pledgor agrees to execute and deliver to
the Secured Party appropriate additional dividend, distribution and other orders and documents
to that end, and (iii) if any dividends or other distributions on the Pledged Interests shall be paid
or distributed to, or otherwise received by, Pledgor, Pledgor shall hold such dividends or

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distributions in trust for the benefit of Secured Party and shall pay over any such dividends or
distributions to Secured Party within one (1) Business Day after receipt thereof by Pledgor.

4.05 Collateral Events. lf at any time a Collateral Event shall have occurred and be
continuing:

(a) the Secured Party shall have all of the rights and remedies with respect to
the Collateral of a secured party under the UCC (whether or not the UCC is in effect in the
jurisdiction where the rights and remedies are asserted) and such additional rights and remedies
to which a secured party is entitled under the laws in effect in any jurisdiction where any rights
and remedies hereunder may b_e asserted, including the right, to the fullest extent permitted by
applicable law, to exercise all voting, consensual, and other powers of ownership pertaining to
the Collateral as if the Secured Party was the sole and absolute owner thereof (and the Pledgor
agrees to take all such action as may be appropriate to give effect to such right); and

(b) the Secured Party may, upon at least ten (lO) Business Days prior written
notice to the Pledgor of the time and place, with respect to the Collateral or any part thereof that
shall then be or shall thereafter come into the possession, custody or control of the Secured Party,
sell, assign or otherwise dispose of all or any part of such Collateral at such place or places as the
Secured Party deems best and for cash or for credit or for future delivery (without thereby
assuming any credit risk), at public or private sale, without demand of performance or notice of
intention to effect any such disposition or of the time or place thereof (except such notice as is
required above or by applicable statute and cannot be waived), and the Secured Party or anyone
else may be the purchaser, assignee or recipient of any or all of the Collateral so disposed of at
any public sale (or, to the extent permitted by law, at any private sale) and thereafter hold the
same absolutely free from any claim or right of whatsoever kind, including any right or equity of
redemption (statutory or otherwise) of the Pledgor, any such demand, notice and right or equity
being hereby expressly waived and released. The Secured Party may, without notice or
publication, adjourn any public or private sale or cause the same to be adjourned from time to
time by announcement at the time and place fixed for the sale, and such sale may be made at any
time or place in which the sale may be so adjourned.

The Pledgor recognizes that, by reason of certain prohibitions contained in the Securities Act of
1933 and applicable state securities laws, the Secured Party may be compelled, with respect to
any sale of all or any part of the Collateral, to limit purchasers to those Who will agree, among
other thin gs, to acquire the Collateral for their own account, for investment and not with a view
to the distribution or resale thereof. The Pledgor acknowledges that any such private sales may
be at prices and on terms less favorable to the Secured Party than those obtainable through a
public sale without such restrictions and, notwithstanding such circumstances, agrees that any
such private sale shall be deemed to have been made in a commercially reasonable manner and
that the Secured Party shall have no obligation to engage in public sales and no obligation to
delay the sale of any Collateral for the period of time necessary to permit the Obligor, as issuer
thereof, to register it for public sale.

4.06 DeEciency. lf the proceeds of sale, collection or other realization of or upon the
Collateral pursuant to Section 4.05 are insufficient to cover the costs and expenses of such

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realization and the payment in full of the Obligations, the Pledgor shall not be liable for any
deficiency in respect of the Obligations

4.07 ` Nog`ce of Change of Name or State of Inco;poration. Without at least thirty (30)
days prior notice to the Secured Party, the Pledgor shall not change the jurisdiction or form of its
organization or its name from the following:

 

Name Jurisdiction of Formation

 

 

 

 

CIRCOR lntemational, Inc. Delaware

 

4.08 Application of Proceeds. Upon the occurrence of a Collateral Event and during
the continuance of such Collateral Event, the proceeds of any sale of, or other realization upon,
all or any part of the Collateral shall be applied by the Secured Party in the following order of
priorities:

(a) to payment of the expenses of such sale or other realization, including any
taxes arising from such sale or other realization and all expenses, liabilities and advances
incurred or made by the Secured Party in connection therewith, and then ratably to pay any other
unreimbursed expenses for which the Secured Party or any Holder is to be reimbursed pursuant
to Section 7.l of the Note;

(b) to the ratable payment of unpaid interest on the Obligations;
(c) to the ratable payment of unpaid principal of the Obligations;

(d) to the ratable payment of all other Obligations, until all Obligations shall
have been paid in full; and

(e) to payment to the Pledgor or its successors or assigns, or as a court of
competent jurisdiction may direct, of any surplus then remaining from such proceeds.

The Secured Party may make distributions hereunder in cash or in kind or, on a ratable basis, in
any combination hereof,

4.09 Attorney-in-Pact. Without limiting any rights or powers granted by this
Agreement to the Secured Party while no Collateral Event has occurred and is continuing, upon
the occurrence of any Collateral Event and during the continuance of such Collateral Event, the
Secured Party is hereby appointed the attorney~in-fact of the Pledgor for the purpose of carrying
out the provisions of this Section 4 and taking any action and executing any instruments that the
Secured Party may deem, in the Secured Party’s sole discretion, necessary or reasonably
advisable to accomplish the purposes hereof, which appointment as attorney-in-fact is
irrevocable and coupled with an interest Without limiting the generality of the foregoing, so
long as the Secured Party shall be entitled under this Section 4 to make collections in respect of
the Collateral, the Secured Party shall have the right and power to receive, endorse and collect all
checks made payable to the order of the Pledgor representing any dividend, payment or other
distribution in respect of the Collateral or any part thereof and to give full discharge for the same.

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4. 10 No Marshalling. Upon the occurrence of any Collateral Event and during the
continuance of such Collateral Event, the Secured Party shall not be required to marshal the
order of its enforcement of its security interest in any part of the Collateral for the benefit of any
person. `

Section 5 . Miscellaneous.

5.01 Notices. All notices, responses, consents, waivers, requests, statements, and other
communications provided for herein shall be in writing and shall be delivered by hand or
overnight courier service, mailed by certified or registered mail or sent by facsimile, as follows
(or as otherwise directed in writing):

(a) if to the Pledgor:

ClRCOR International, lnc.
c/o General Counsel

25 Corporate Drive, Suite 130
Burlington, MA 01803

with a copy (which alone will not constitute notice) to:

William R. Hanlon, Esq.
Richard M. Wyner, Esq.
Goodwin Procter LLP

901 New York Avenue, N.W.
Suite 900 East

Washington, DC 20001

(b) if to the Secured Party:

Leslie Controls, Inc. Asbestos Personal Injury Trust

 

 

 

Attention:
Facsimile:

 

 

with a copy (which alone will not constitute notice) to:

 

 

 

Attention:
Facsimile:

 

 

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(c) if to the Obligor:

Leslie Controls, Inc.
c/o President

12501 Telecom Drive
Tampa, FL 33637-0906

with a copy (which alone will not constitute notice) to:

Norman L. Pernick, Esq.

Marion M. Quirk, Esq.

Cole, Schotz, Meisel, Forman & Leonard, P.A.
500 Delaware Avenue, 1410

Wilmington, DE 19801

5.02 No Waiver. No failure on the part of the Secured Party to exercise, and no course
of dealing with respect to, and no delay in exercising, any right, power or remedy hereunder shall
operate as a waiver thereof; nor shall any single or partial exercise by the Secured Party of any
right, power or remedy hereunder preclude any other or further exercise thereof or the exercise of
any other ri ght, power or remedy. The remedies herein are cumulative and are not exclusive of

any remedies provided by law. ~

5.03 Amendments. Neither this Agreement nor any provision hereof may be changed,
waived, discharged or (except as provided in Section 5.09) terminated except in writing signed
by the Pledgor and the Secured Party,

5.04 Successors and Assigr_is. This Agreement is for the benth of the Secured Party
and its successors and permitted assigns, and in the event of an assignment of the Note, the rights
hereunder, to the extent applicable to the indebtedness so assigned, shall be transferred with such
indebtedness. This Agreement shall be binding on the Pledgor and its successors and assigns;
provided, however, that neither the Pledgor nor Obligor shall have the right to assign its rights or
obligations hereunder or any interest herein without the prior written consent of the Secured
Party.

5.05 Counte;parts. This Agreement may be executed in any number of counterparts, all
of which taken together shall constitute one and the same instrument and any of the parties
hereto may execute this Agreement by signing any such counterpart

5.06 governing Law; Jurisdiction.

(a) Governing Law. This Agreement shall be construed in accordance with
and governed by the law of the State of New York.

(b) Submission to Jurisdiction. Each of the parties hereto hereby irrevocably
and unconditionally submits, for itself and its properties, to the nonexclusive jurisdiction of the
Supreme Court of the State of New York sitting in New York County and of the United States
District Court for the Southern District of New York, and any appellate court from any thereof,
in any action or proceeding arising out of or relating to this Agreement, or for recognition or

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enforcement of any jud gment, and each of the parties hereto hereby irrevocably and
unconditionally agrees that all claims in respect of any such action or proceeding may be heard
and determined in such New York State or, to the extent permitted by law, in such federal court.
Each of the parties hereto agrees that a final judgment in any such action or proceeding shall be
conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other
manner provided by law. Nothing in this Agreement shall affect any right that either party may
otherwise have to bring any action or proceeding relating to this Agreement against the other
party hereto or its properties in the courts of any jurisdiction

(c) Waiver of Venue. Each of the parties hereto hereby irrevocably and
unconditionally waives, to the fullest extent it may legally and effectively do so, any objection
which it may now or hereafter have to the laying of venue of any suit, action or proceeding
arising out of or relating to this Agreement in any court referred to in Section 5.06(b). Each of
the parties hereto hereby irrevocably waives, to the fullest extent permitted by law, the defense
of an inconvenient forum to the maintenance of such action or proceeding in any such court.

(d) Service of Process. Each party to this Agreement irrevocably consents to
service of process in the manner provided for notices in Section 5.01. Nothing in this Agreement
will affect the right of any party to this Agreement to serve process in any other manner
permitted by law.

5.07 Captions. The captions and Section headings appearing herein are included solely
for convenience of reference and are not intended to affect the interpretation of any provision of
this Agreement v

5.08 Severability. If` any provision hereof is invalid and unenforceable in any
jurisdiction, then, to the fullest extent permitted by law, (a) the other provisions hereof shall
remain in full force and effect in such jurisdiction and shall be liberally construed in favor of the
Secured Party in order to carry out the intentions of the parties hereto as nearly as may be
possible and (b) the invalidity or unenforceability of any provision hereof in any jurisdiction
shall not affect the validity or enforceability of such provision in any other jurisdiction

5 .09 Termination. This Agreement shall terminate upon the earlier to occur of (i)
payment in full of the Note, and (ii) the transfer of title to the Collateral to the Secured Party,
Upon any such termination, the Secured Party will, at the expense of the Pledgor, deliver to the
Pledgor all certificates and instruments representing or evidencing the Pledged Interests held by
the Secured Party hereunder, and will execute and deliver to the Pledgor such documents as the
Pledgor shall reasonably request to evidence the termination of this Agreement

(a) The obligations of the Pledgor hereunder shall not constitute a debt or
obligation of the Pledgor in any action to collect any amounts due under, or otherwise in respect
of, the Note. The Pledgor shall not be liable under any theory for any amount due under this
Agreement or the Note, and no Holder shall seek a deficiency or personal judgment against the
Pledgor (except in the event of fraudulent action by the Pledgor), including, without limitation,
for payment of the Obligations or other amounts evidenced by this Agreement or the Note, No
property or assets of the Pledgor, other than the Collateral pledged pursuant to this Agreement,

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shall be sold, levied upon or otherwise used to satisfy any judgment rendered in connection with
any action brought against the Pledgor with respect to this Agreement

(b) Notwithstanding the foregoing, nothing herein shall be construed to (i)
impair or limit the rights of any Holder against the Pledgor in the event of any fraudulent actions
by the Pledgor, or (ii) prevent the commencement of any action, suit or proceeding against any
person (or prevent the service of papers under any person) for the purpose of obtaining
jurisdiction over the Pledgor.

{Signature Page Follows}

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IN WII‘NESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed and delivered as of the clay and year first above written.

 

 

 

 

CIRCOR ]N'I‘ERNATIONAL, INC. LESLIE CONTROLS, INC. ASBESTOS
t PERSONAL INJURY TRUST

By: By:

Narne: Narne:

Title: Title:

 

 

LESLIE CONTROLS, lNC,

By:

 

Name:

 

Title:

 

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EXHIBIT F
SCHEDULE OF INSURANCE SETTLEMENT AGREEMENTS AND
SE'I`TLING ASBESTOS INSURANCE ENTITIES

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EXHIBIT F

Schedula of Insurance Settlement Agreements
and Settling Asbestos Insurance Entities

l. Confidential Settlement Agreement and Release by and between Leslie Controls, Inc. and
Continental Casualty Company, executed April 2010.

